Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 1 of 40 PageID #: 203
                                                                                                             June 3, 2022

                                                         Page 1                                                              Page 3
                                                                    1
               UNITED STATES DISTRICT COURT                         2      FEDERAL STIPULATIONS
               EASTERN DISTRICT OF NEW YORK
                                                                    3
               ----------------------------------------------X
               SANTOS HERNANDEZ, EMANUEL DE JESUS LIEVANO           4      IT IS HEREBY STIPULATED AND AGREED by and
               and MIGUEL ANTONIO VASQUEZ,                          5   between the attorneys for the respective parties
                                                                    6   herein, that the sealing, filing and certification
                            Plaintiffs,
                                                                    7   of the within deposition be waived; that such
                     -against-     Case No. 20-CV-4026              8   deposition may be signed and sworn to before any
                                                                    9   officer authorized to administer and oath, with
               ROSSO UPTOWN, LTD., MICHELE TIZZANO s/h/a           10   the same force and effect as if signed and sworn
               MICHAEL TIZZANO and MASSIMO GAMMELLA,
                                                                   11   to before the officer before whom said deposition
                                  Defendants.
               ----------------------------------------------X     12   is taken.
                              200 Broad Hollow Road                13      IT IS FURTHER STIPULATED AND AGREED that all
                              Melville, New York                   14   objections, except as to form, are reserved to the
                                                                   15   time of trial.
                         June 3, 2022
                                                                   16
                         10:00 a.m.
                                                                   17
                                                                   18
                                                                   19
                       DEPOSITION Pro Se of the Defendant,
                                                                   20
               MICHELE TIZZANO s/h/a MICHAEL TIZZANO, taken by
               the Plaintiff, pursuant to Order, held at the       21
               above-mentioned time and place, before Grace        22
               Nuccio, a Notary Public of the State of New York.   23
                                                                   24
                                                                   25                    **********


                                                         Page 2                                                              Page 4
           1                                                        1             -Michele Tizzano-
           2    A P P E A R A N C E S:                              2    M I C H E L E T I Z Z A N O,
           3    MOSER LAW FIRM, P.C.                                3             called as a witness pro se, having
           4       Attorneys for Plaintiffs                         4             been first duly sworn, was examined
           5       5 East Main Street                               5             and testified as follows:
           6       Huntington, New York 11743                       6    BY THE REPORTER:
           7    BY: STEVEN JOHN MOSER, ESQ.                         7       Q. Please state your name for the
           8       File No. 18-00021                                8    record.
           9                                                        9       A. Michele Tizzano.
          10                                                       10       Q. Please state your address for the
          11                                                       11    record.
          12                                                       12       A. Home address is 44 Sintsink Drive
          13                                                       13    East, Apartment E, Port Washington, New York
          14                                                       14    11050.
          15    A L S O P R E S E N T:                             15    EXAMINATION BY
          16    MOSER LAW FIRM, P.C.                               16    MR. MOSER:
          17    BY: SHIRLEY NAVARRO-LOSITO, Paralegal              17       Q. Good morning, Mr. Tizzano. My name
          18                                                       18    is Steve Moser and I'm not sure if we've met
          19                                                       19    before. I believe we may have met in court once
          20                                                       20    but I'm not sure.
          21                                                       21       A. I think I just crossed you. I didn't
          22                                                       22    know it was you.
          23                                                       23       Q. I represent three individuals who are
          24                                                       24    suing Rosso Uptown, you and Massimo Gammella for
          25                     * * * *                           25    violations of the New York Labor Law and the Fair


                                                                                                1 (Pages 1 to 4)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 2 of 40 PageID #: 204
                                                                                                June 3, 2022

                                                     Page 5                                                Page 7
           1            -Michele Tizzano-                          1           -Michele Tizzano-
           2   Labor Standards Act.                                2     Q. What's the name of that restaurant?
           3           I'm going to have some questions for        3     A. Pepe Rosso 24 Inc.
           4   you today. If you don't the question, don't         4     Q. What is your job title at Pepe Rosso?
           5   answer it. You let me know and I will make the      5     A. I'm the owner.
           6   question understandable for you. I'll repeat it     6     Q. How long have you been the owner of
           7   as many times as necessary so that you fully        7   Pepe Rosso 24, Inc.?
           8   understand the question before you answer it.       8     A. Since 2010.
           9           Is that okay?                               9     Q. May I refer to Pepe Rosso 24, Inc. as
          10      A. It's okay.                                   10   Pepe Rosso?
          11      Q. Have you ever testified at a                 11     A. Mm-hmm, yes, you can.
          12   deposition before?                                 12     Q. What do you do at Pepe Rosso?
          13      A. Once.                                        13     A. I watch over the restaurant's
          14      Q. When was that?                               14   operation.
          15      A. During my divorce.                           15     Q. Do you have any partners?
          16      Q. How many years ago was that?                 16     A. Yes.
          17      A. 2017.                                        17     Q. What are the names of your partners?
          18      Q. Have you been known by any other name        18     A. Massimo Gammella.
          19   other than Michele Tizzano?                        19     Q. Besides Mr. Gammella, do you have any
          20      A. Yes.                                         20   other partners at Pepe Rosso?
          21      Q. What other names have you been known         21     A. No.
          22   by?                                                22     Q. Do you manage any other restaurants
          23      A. Michael.                                     23   other than Pepe Rosso?
          24      Q. And that would Michael Tizzano?              24     A. No.
          25      A. Yes.                                         25     Q. Do you own any other restaurants


                                                     Page 6                                                Page 8
           1            -Michele Tizzano-                          1             -Michele Tizzano-
           2      Q. Beside Michael Tizzano and Michele            2   other than Pepe Rosso?
           3   Tizzano, have you been known by any other names?    3      A. No.
           4      A. No.                                           4      Q. Have you managed any restaurants
           5      Q. Do you have a twin brother or a               5   other than Pepe Rosso in the past ten years?
           6   sister?                                             6      A. What do you mean by manage?
           7      A. No.                                           7      Q. Let me ask it a different way.
           8      Q. Have you ever been the victim of              8            Have you had any ownership interest
           9   identity theft?                                     9   in any businesses other than Pepe Rosso in the
          10      A. It could be.                                 10   past ten years?
          11      Q. Do you recall specifically any               11      A. No.
          12   incident in which someone stole your identity?     12      Q. Have you ever helped anyone else run
          13      A. No.                                          13   a restaurant in the past ten years?
          14      Q. To your knowledge, has anyone ever           14      A. Yes.
          15   pretended to be you?                               15      Q. Whom did you help run a restaurant?
          16      A. No.                                          16      A. I do consulting. So I've helped
          17      Q. Have you ever given permission to            17   several restaurants.
          18   someone else to pretend to be you?                 18      Q. What type of consulting do you do?
          19      A. No.                                          19      A. I help with menus, recipes, training
          20      Q. I'm just going to go over your               20   wait staff, decor, relationship with vendors.
          21   employment history for the past ten years.         21      Q. Is there a company that does that or
          22           Are you currently employed now?            22   is that just you individually?
          23      A. Yes.                                         23      A. Only me individually.
          24      Q. Where are you employed?                      24      Q. How long have you been doing this
          25      A. At a restaurant.                             25   consulting work?


                                                                                       2 (Pages 5 to 8)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 3 of 40 PageID #: 205
                                                                                                  June 3, 2022

                                                      Page 9                                               Page 11
           1            -Michele Tizzano-                           1           -Michele Tizzano-
           2      A. I would not define it as consulting            2      A. Yes.
           3   work. It's if somebody calls me, I offer if I can    3      Q. Do you currently have any ownership
           4   help; fine. So...                                    4   in any business other than Pepe Rosso?
           5      Q. What restaurants have you done this            5      A. No.
           6   work for in the past ten years?                      6      Q. Have you owned any business other
           7      A. There was a pizzeria up in                     7   than Pepe Rosso in the past ten years?
           8   Connecticut and a restaurant in Rockville Centre.    8      A. No.
           9      Q. What was the name of the pizzeria in           9      Q. Are you familiar with a business
          10   Connecticut?                                        10   called Rosso Uptown, Limited?
          11      A. Grimaldi's.                                   11      A. Yes.
          12      Q. Do you know the address of that?              12      Q. What is Rosso Uptown, Limited?
          13      A. I do not remember.                            13      A. It was a restaurant.
          14      Q. Do you remember the city it was in?           14      Q. Where was that restaurant located?
          15      A. Woodbridge.                                   15      A. Main Street in Port Washington.
          16      Q. Who was your contact at Grimaldi's?           16      Q. Did you ever work at Rosso Uptown?
          17      A. The owner's name was I believe Tony           17      A. No.
          18   Piscina (phonetic). The restaurant is closed now.   18      Q. How do you know that Rosso Uptown,
          19      Q. What was the name of the restaurant           19   Limited was a restaurant that did business that
          20   in Rockville Centre that you did the consulting     20   was located on Main Street?
          21   for?                                                21      A. Because it's owned by my partner.
          22      A. Habanero.                                     22      Q. When you say your partner, we're
          23      Q. Is Habanero still in business?                23   speaking about Massimo Gammella?
          24      A. Yes.                                          24      A. Yes.
          25      Q. Have you ever told anybody that you           25      Q. Did Rosso Uptown, Limited do business


                                                    Page 10                                                Page 12
           1            -Michele Tizzano-                           1           -Michele Tizzano-
           2   were the manager of Habanero?                        2   as Rosso Uptown?
           3      A. Yes.                                           3      A. Yes.
           4      Q. Whom did you tell that you were the            4      Q. Did it do business under any other
           5   manager of Habanero?                                 5   names other than Rosso Uptown?
           6      A. Define manager because --                      6      A. He changed identity three times.
           7      Q. I'm not talking about your definition          7      Q. What was its first identity?
           8   of manager or my definition of manager or anyone     8      A. Rosso Uptown.
           9   else's definition of manager. I just want to know    9      Q. When was it identified as Rosso
          10   if you told anyone at any time that you were the    10   Uptown?
          11   manager of Habanero.                                11      A. In terms of the time?
          12      A. I might have.                                 12      Q. Approximately, yes.
          13      Q. Who might you have told that you were         13      A. I don't know when he opened; 2015.
          14   the manager?                                        14      Q. Is that an approximation?
          15      A. Some customer.                                15      A. Yeah, probably.
          16      Q. Other than perhaps a customer, would          16      Q. When did it change from Rosso Uptown
          17   you have told anyone else that you were the         17   to something else?
          18   manager of Habanero?                                18      A. Exactly I would not know.
          19      A. No.                                           19      Q. What did it change to next?
          20      Q. You mentioned that the pizzeria in            20      A. Osteria, the Brick Osteria.
          21   Connecticut, Grimaldi's, is out of business,        21      Q. When did it change from Rosso Uptown
          22   correct?                                            22   change to Brick Osteria?
          23      A. I believe so.                                 23      A. I would not know.
          24      Q. These are the only two businesses             24      Q. Did it change from Brick Osteria to
          25   that you helped in the past ten years?              25   something else?


                                                                                       3 (Pages 9 to 12)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 4 of 40 PageID #: 206
                                                                                                     June 3, 2022

                                                    Page 13                                                   Page 15
           1            -Michele Tizzano-                            1             -Michele Tizzano-
           2     A. Yes.                                             2    to how many different times you helped out at
           3     Q. What did it change to?                           3    Rosso Uptown?
           4     A. 11 Zero 50.                                      4       A. I can't.
           5     Q. Other than Rosso Uptown, Brick                   5       Q. Can you say if you helped out less
           6   Osteria and 11 Zero 50, did Rosso Uptown, Limited     6    than a hundred times?
           7   do business under any other names?                    7       A. Yes.
           8     A. No.                                              8       Q. Can you say whether it was less than
           9     Q. How do you know this information                 9    50 times?
          10   about Rosso Uptown, Limited?                         10       A. It could be.
          11     A. Through my partner.                             11       Q. Other than being less than a hundred,
          12     Q. Is it based upon your conversations             12    can you give me any other approximation of how
          13   with him?                                            13    many times you helped out at Rosso Uptown?
          14     A. Yes.                                            14       A. I cannot approximate.
          15     Q. Other than your conversations with              15       Q. How would you help out at Rosso
          16   Massimo Gammella, is your knowledge regarding        16    Uptown?
          17   Rosso Uptown, Limited based on anything else?        17       A. If he was short of a waiter, I would
          18     A. Can you rephrase that?                          18    pitch in. If he needed a driver, I would do
          19     Q. You testified briefly today that                19    deliveries. If he needed a cook, I would cook.
          20   there was this business Rosso Uptown, Limited        20       Q. Other than pitching in as a waiter, a
          21   located on Main Street in Port Washington and you    21    driver or a cook, did you help out in any other
          22   mentioned that it did business under three           22    way at Rosso Uptown?
          23   names -- Rosso Uptown, Brick Osteria and 11 Zero     23       A. Maybe I brought stuff from one
          24   50 -- and this information you know through your     24    restaurant to another if he was short of
          25   partner, Massimo Gammella.                           25    something.


                                                    Page 14                                                   Page 16
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      A. Mm-hmm.                                         2      Q. What other restaurant would you bring
           3      Q. My question is: Other than Massimo              3   things from?
           4   Gammella telling you this, was there any other way    4      A. From Pepe Rosso.
           5   that you knew these particular facts?                 5      Q. What types of items would you bring?
           6      A. No.                                             6      A. Regular food items if he was short of
           7      Q. For the purposes of this deposition,            7   bread or if he needed sugar or flour.
           8   when I use the term Rosso Uptown, I'm going to        8      Q. When you brought the food items from
           9   mean Rosso Uptown, Limited and any trade name that    9   Pepe Rosso to Rosso Uptown, would Rosso Uptown pay
          10   it did business under. Do you understand that?       10   Pepe Rosso for those items?
          11      A. Yes.                                           11      A. He would replace the items.
          12      Q. Did you ever supervise employees of            12      Q. So it would be a loan?
          13   Rosso Uptown?                                        13      A. Yes.
          14      A. No.                                            14      Q. Then Rosso Uptown would then after
          15      Q. Did you ever work at Rosso Uptown?             15   purchasing additional stuff give it to back to
          16      A. I might have helped Massimo, yes.              16   Pepe Rosso?
          17      Q. When you say you might have helped,            17      A. Yes.
          18   when might you have helped?                          18      Q. On how many occasions were food items
          19      A. Whenever he needed me. It was not on           19   brought from Pepe Rosso to Rosso Uptown?
          20   an ongoing basis.                                    20      A. Very rarely.
          21      Q. Do you recall how many times you               21      Q. Did Pepe Rosso and Rosso Uptown share
          22   worked at Rosso Uptown?                              22   any common employees?
          23      A. The specific numbers, no. And if it            23      A. No.
          24   was, it was maybe an hour or two hours.              24      Q. Was there any worker who ever worked
          25      Q. Can you give me any approximation as           25   at both Pepe Rosso and Rosso Uptown?


                                                                                       4 (Pages 13 to 16)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 5 of 40 PageID #: 207
                                                                                                     June 3, 2022

                                                    Page 17                                                   Page 19
           1           -Michele Tizzano-                             1            -Michele Tizzano-
           2     A. Simultaneously?                                  2   restaurant does well, it does change an entity
           3     Q. Yes.                                             3   three times.
           4     A. No.                                              4      Q. Would you say that from the time
           5     Q. Other than simultaneously, was there             5   Rosso Uptown opened until it closed that Massimo
           6   ever an individual who worked for both Rosso          6   was having difficulties at that restaurant?
           7   Uptown and Pepe Rosso?                                7      A. Yes.
           8     A. I think so.                                      8      Q. How many times did you tell people
           9     Q. Do you know how many individuals                 9   that you were a manager of Rosso Uptown?
          10   would have worked for both Rosso Uptown and Pepe     10      A. Maybe a few times. I can't pinpoint
          11   Rosso at any time?                                   11   exactly how many times.
          12     A. Maybe one.                                      12      Q. Other than Massimo having
          13     Q. Do you recall the name of that                  13   difficulties at that restaurant, is there any
          14   individual?                                          14   other reason why you would tell customers that you
          15     A. No.                                             15   were a manager of Rosso Uptown?
          16     Q. Were you ever an owner of Rosso                 16      A. No.
          17   Uptown?                                              17      Q. Where were these customers?
          18     A. No.                                             18      A. What?
          19     Q. Were you ever a joint owner and                 19      Q. The customers that you told that you
          20   manager of Rosso Uptown?                             20   were the manager of Rosso Uptown to, were those
          21     A. No.                                             21   customers at Pepe Rosso or Rosso Uptown?
          22     Q. Did you ever own any shares in Rosso            22      A. Well, we live in a small town. So
          23   Uptown?                                              23   most probably.
          24     A. No.                                             24      Q. Most probably --
          25     Q. Did you ever tell anyone that you               25      A. Restaurants share customers. Now, if


                                                    Page 18                                                   Page 20
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2   were a manager of Rosso Uptown?                       2   they were Pepe Rosso's customers or other
           3      A. It could be.                                    3   customers, it's hard to say.
           4      Q. Whom would you have told that you               4      Q. Did you ever tell customers while you
           5   were a manager of Rosso Uptown?                       5   were at Pepe Rosso that you were the manager of
           6      A. Customers.                                      6   Rosso Uptown?
           7      Q. Why would you tell customers that you           7      A. Yes.
           8   were a manager Rosso Uptown?                          8      Q. On how many occasions?
           9      A. Especially when Massimo was in                  9      A. I could not pinpoint.
          10   difficulties.                                        10      Q. Could you whether it was more than 20
          11      Q. So that would relate to the timing of          11   times or less than 20 times?
          12   when you would tell people that you were a manager   12      A. I would not know.
          13   of Rosso Uptown?                                     13      Q. So it could be more than more than 20
          14      A. Can you rephrase that?                         14   or it could be less than 20?
          15      Q. My question was: Why did you tell              15      A. Mr. Moser, I don't want to guess.
          16   customers that you were a manager of Rosso Uptown?   16      Q. Did you tell customers at Pepe Rosso
          17      A. Because there was a time that Massimo          17   fewer than a hundred times that you were the
          18   was in difficulties and I thought that it could      18   manager Rosso Uptown?
          19   have benefits from customers knowing that I was      19      A. I'm not doing a guessing game with
          20   part of the -- you know, that I was managing the     20   you, Mr. Moser.
          21   restaurant.                                          21      Q. So it could have been more than a
          22      Q. What do you mean when you say the              22   hundred or it could have been less than a hundred;
          23   times that Massimo was in difficulties?              23   we don't know?
          24      A. Well, we just stated that Rosso                24      A. We don't know.
          25   Uptown changed identities for three times. If a      25      Q. Let talk about times that you told


                                                                                       5 (Pages 17 to 20)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 6 of 40 PageID #: 208
                                                                                                    June 3, 2022

                                                    Page 21                                                   Page 23
           1            -Michele Tizzano-                            1           -Michele Tizzano-
           2   customers at Rosso Uptown that you were the           2   the location, did you tell him anything else?
           3   manager of Rosso Uptown. On how many occasions        3      A. If he was asking, yes.
           4   did you tell individuals at Rosso Uptown that you     4      Q. What other subjects did you advise
           5   managed Rosso Uptown?                                 5   Massimo Gammella on when it came to Rosso Uptown?
           6      A. What are we talking; now we're                  6      A. Can you rephrase that?
           7   talking about Rosso Uptown before?                    7      Q. You mentioned that you gave advice to
           8      Q. We were talking about Pepe Rosso.               8   him and part of that advice was do not take the
           9           So my question before -- let me               9   location. Did you give him any other advice about
          10   clarify and maybe I need to correct myself but my    10   Rosso Uptown?
          11   question before was: When you were at Pepe Rosso,    11      A. It depended on what he was asking me
          12   did you tell customers that you were the manager     12   for.
          13   of Rosso Uptown?                                     13      Q. What did he ask you?
          14      A. Okay, for me to understand, your               14      A. You have to ask him.
          15   question now is while I was working at Pepe Rosso,   15      Q. Do you recall anything that he asked
          16   have I said that I was a manager at Rosso Uptown?    16   you or anything that you told him other than do
          17      Q. Correct, thank you.                            17   not take the location?
          18      A. Because before you were not clear.             18      A. If he was asking for specific advice,
          19      Q. Okay, thank you.                               19   I might have said something, yes.
          20      A. I would not know how many times I              20      Q. Do you recall any specific instance
          21   told customers at Pepe Rosso that I was somehow      21   in which you gave Massimo advice about Rosso
          22   managing Uptown.                                     22   Uptown other than that time that you told him do
          23      Q. How about when you were at Rosso               23   not take the location?
          24   Uptown, do you recall how many times you told        24      A. I think you are repeating the
          25   customers at Rosso Uptown that you were the          25   question; and yes, I did.


                                                    Page 22                                                   Page 24
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2   manager of Rosso Uptown?                              2       Q. What other things did you tell him or
           3      A. No.                                             3    advise him on?
           4      Q. Can you give me any approximation               4       A. Maybe the food, what he should do;
           5   whatsoever?                                           5    the decor that he should apply.
           6      A. No, Mr. Moser, I can't.                         6       Q. So you had input into the menu?
           7      Q. For what purpose did you tell people            7       A. No.
           8   that you were the manager of Rosso Uptown?            8       Q. Did you give him advice on what to do
           9      A. I beg your pardon?                              9    with the menu?
          10      Q. For what purpose did you tell people           10       A. Yes.
          11   that you were the manager of Rosso Uptown?           11       Q. Did you give him advice on what to do
          12      A. I thought that Massimo could benefit           12    with the design?
          13   if people knew that I was doing a job there, that    13       A. Yes.
          14   I was working there.                                 14       Q. Did you ever have any access to the
          15      Q. Did you have any role in the                   15    business records of Rosso Uptown?
          16   formation of Rosso Uptown?                           16       A. No.
          17      A. Can you define role?                           17       Q. Other than customers, did you ever
          18      Q. Did you do anything to help Massimo            18    tell anyone else that you were the manager of
          19   start the business?                                  19    Rosso Uptown?
          20      A. If he was asking for advice, yes.              20       A. No.
          21      Q. Did he ask you for advice?                     21       Q. Were you ever a signatory on any
          22      A. Yes.                                           22    Rosso Uptown bank accounts?
          23      Q. What advice did you give him?                  23       A. Never.
          24      A. Do not take the location.                      24       Q. Did you ever hire any Rosso Uptown
          25      Q. Other than telling him do not take             25    employees?


                                                                                       6 (Pages 21 to 24)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 7 of 40 PageID #: 209
                                                                                                  June 3, 2022

                                                  Page 25                                                  Page 27
           1           -Michele Tizzano-                          1            -Michele Tizzano-
           2      A. No.                                          2   I referred to him in a rude manner. Massimo
           3      Q. Did you ever fire any Rosso Uptown           3   showed him the summons, the complaint, with his
           4   employees?                                         4   name on it and he said that he had nothing to do
           5      A. No.                                          5   with it. That was the core of the conversation.
           6      Q. Who did all the hiring and firing at         6      Q. Was he looking for a job when he went
           7   Rosso Uptown?                                      7   to Pepe Rosso?
           8      A. Massimo, Massimo.                            8      A. No.
           9      Q. And by Massimo, you mean Massimo             9      Q. Why did you go to Pepe Rosso?
          10   Gammella?                                         10      A. He got food for his girlfriend.
          11      A. Yes.                                        11      Q. Did Emanuel De Jesus Lievano ever
          12      Q. Who managed the day-to-day operations       12   work for Pepe Rosso?
          13   of Rosso Uptown?                                  13      A. He might have.
          14      A. Besides Massimo, there was a guy that       14      Q. When might he have worked for Pepe
          15   worked there.                                     15   Rosso?
          16      Q. How much time did Massimo spend at          16      A. I do not remember. Maybe during the
          17   Rosso Uptown when it was open?                    17   pandemic.
          18      A. Obviously not much.                         18      Q. Did Emanuel De Jesus Lievano ever
          19      Q. Who managed the day-to-day operations       19   work for Rosso Uptown?
          20   of Rosso Uptown other than Massimo?               20      A. Yes.
          21      A. I knew of one guy only.                     21      Q. When did he work for Rosso Uptown?
          22      Q. Who was that guy?                           22      A. A specific time I don't know.
          23      A. It was a Brazilian guy.                     23      Q. Did you ever manage him?
          24      Q. Do you know an individual by the name       24      A. No.
          25   of Santos Hernandez?                              25      Q. Do you know an individual by the name


                                                  Page 26                                                  Page 28
           1           -Michele Tizzano-                          1            -Michele Tizzano-
           2      A. No. Did he go with another name? Do          2   of Miguel Antonio Vasquez?
           3   you have a picture?                                3      A. It could be.
           4      Q. Do you know an individual by the name        4      Q. How would you know Miguel Antonio
           5   of Emanuel De Jesus Lievano?                       5   Vasquez?
           6      A. I might.                                     6      A. Because I think he works at Pepe
           7      Q. How might you know him?                      7   Rosso with us.
           8      A. Because he stopped at Pepe Rosso             8      Q. Has Miguel Antonio Vasquez spoken to
           9   about maybe a month ago.                           9   either you or Mr. Gammella about this lawsuit?
          10      Q. Did you record him when he stopped at       10      A. No.
          11   Pepe Rosso a month ago?                           11      Q. Did Miguel Antonio Vasquez indicate
          12      A. Massimo did.                                12   to either of you whether he wants to continue this
          13      Q. Did you listen to that recording?           13   lawsuit?
          14      A. Yes.                                        14      A. No.
          15      Q. Is that recording in English or             15      Q. Did you ever ask him anything about
          16   Spanish or a combination?                         16   this lawsuit?
          17      A. I don't remember. I think Spanish.          17      A. Do you mean me personally or Massimo?
          18      Q. Does Massimo speak some Spanish?            18      Q. You personally.
          19      A. He does.                                    19      A. No.
          20      Q. Do you speak some Spanish?                  20      Q. Did Massimo ever him anything about
          21      A. I think I do.                               21   this lawsuit?
          22      Q. What was the sum and substance of           22      A. You have to ask Massimo.
          23   what was recorded?                                23      Q. When you were presented with the
          24      A. Basically Massimo told him what the         24   summons and complaint in this case, did you see
          25   heck are you doing here. The guy was surprised.   25   Miguel Antonio Vasquez's name on it?


                                                                                   7 (Pages 25 to 28)
                                          Lexitas Court Reporting
                                                800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 8 of 40 PageID #: 210
                                                                                                     June 3, 2022

                                                    Page 29                                                   Page 31
           1            -Michele Tizzano-                            1           -Michele Tizzano-
           2      A. Yes.                                            2      Q. Do you have any personal knowledge
           3      Q. Was he an employee of yours at that             3   regarding Mr. Hernandez's work schedule when he
           4   time?                                                 4   was at Rosso Uptown?
           5      A. It could be, yes.                               5      A. No.
           6      Q. Is there a particular reason why you            6      Q. Do you have any personal knowledge
           7   didn't ask him about the lawsuit?                     7   regarding Mr. Lievano's work schedule when he was
           8      A. Yes.                                            8   at Rosso Uptown?
           9      Q. What was that reason?                           9      A. No.
          10      A. Because these people they go by                10      Q. Do you have any knowledge about
          11   different names and I wasn't sure.                   11   Mr. Vasquez's schedule when he was at Rosso
          12      Q. How do you know it's him now?                  12   Uptown?
          13      A. Because you told me so.                        13      A. No.
          14      Q. Is it fair to say that if these three          14      Q. Did you ever talk to Mr. Gammella
          15   individuals worked for Rosso Uptown that you         15   about this lawsuit?
          16   wouldn't know who hired them?                        16      A. Yes.
          17      A. You mean the three of them?                    17      Q. How many times did you speak to
          18      Q. Yes.                                           18   Mr. Gammella about this lawsuit?
          19      A. Yes, that is fair.                             19      A. Is that a serious question? Is this
          20      Q. Is it also fair to say that if these           20   a serious question?
          21   three individuals worked for Rosso Uptown that you   21      Q. Yes.
          22   wouldn't know when they stopped working there?       22      A. 25 times.
          23      A. Not necessarily.                               23      Q. Did you ask him whether these three
          24      Q. How would you know when they stopped           24   individuals who were suing you worked at Rosso
          25   working?                                             25   Uptown?


                                                    Page 30                                                   Page 32
           1           -Michele Tizzano-                             1           -Michele Tizzano-
           2      A. Especially when the restaurant                  2      A. Yes.
           3   changed the identity for the third time, I know       3      Q. What did he say?
           4   because it was a different concept; and according     4      A. That he might recognize two of them.
           5   to Massimo, they were not suitable to execute the     5      Q. Do you recall any other conversations
           6   new menu.                                             6   that you had with Mr. Gammella about this lawsuit?
           7      Q. Do you know when Mr. Hernandez                  7      A. Besides the 25 times that we spoke
           8   started working or stopped working for Rosso          8   about it?
           9   Uptown?                                               9      Q. Well, those are the numbers of times
          10      A. No.                                            10   but I want to know generally what you spoke about.
          11      Q. Do you know when Mr. Lievano started           11      A. The specifics?
          12   working or stopped working for Rosso Uptown?         12      Q. As best you can recall.
          13      A. No.                                            13      A. Yes, what should we do about this
          14      Q. Do you know when Mr. Vasquez started           14   now.
          15   working or stopped working for Rosso Uptown?         15      Q. Did you ever receive any compensation
          16      A. No.                                            16   from Rosso Uptown?
          17      Q. Do you know how much Mr. Hernandez             17      A. No.
          18   was paid when he worked for Rosso Uptown?            18      Q. Did you ever enter into any contracts
          19      A. No.                                            19   with Rosso Uptown?
          20      Q. Do you know how much Mr. Lievano was           20      A. No.
          21   paid when he worked for Rosso Uptown?                21      Q. Did you ever do any promotional work
          22      A. No.                                            22   for Rosso Uptown?
          23      Q. Do you know how much Mr. Vasquez was           23      A. Yes.
          24   paid when he worked for Rosso Uptown?                24      Q. What promotional work did you do for
          25      A. No.                                            25   Rosso Uptown?


                                                                                       8 (Pages 29 to 32)
                                            Lexitas Court Reporting
                                                  800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 9 of 40 PageID #: 211
                                                                                                   June 3, 2022

                                                    Page 33                                                  Page 35
           1            -Michele Tizzano-                           1           -Michele Tizzano-
           2       A. Social media.                                 2      A. No.
           3       Q. What type of social media?                    3      Q. Do you know how they got your number?
           4       A. Facebook, Instagram.                          4      A. No.
           5       Q. Were you collecting a percentage of           5      Q. Did you ask them how they got your
           6    any of the earnings of Rosso Uptown?                6   number?
           7       A. No.                                           7      A. No.
           8       Q. Were you getting paid for any of the          8      Q. Did you ever tell any of these
           9    work that you did for Rosso Uptown?                 9   members of the press that you were the manager of
          10       A. No.                                          10   Rosso Uptown?
          11       Q. Why did you do it?                           11      A. No.
          12       A. To help Massimo.                             12      Q. Have you ever been sued at any other
          13       Q. To help Massimo? Is Massimo your             13   time for violations of the Fair Labor Standards
          14    friend?                                            14   Act or the New York Labor Law?
          15       A. A very good friend.                          15      A. Yes.
          16       Q. Did you have the authority to sign           16      Q. When were you sued?
          17    anything on behalf of Rosso Uptown?                17      A. The specific time?
          18       A. No.                                          18      Q. Approximately.
          19       Q. Were you ever given permission by            19      A. Maybe two years ago.
          20    Massimo to speak for Rosso Uptown?                 20      Q. Do you recall the name of the
          21       A. No.                                          21   individual that sued you?
          22       Q. Did you ever speak to the press on           22      A. No.
          23    behalf of Rosso Uptown?                            23      Q. Where was that case venued; in which
          24       A. I beg your pardon?                           24   court?
          25       Q. Did you ever speak to any member of          25      A. You know, I don't remember. I don't


                                                    Page 34                                                  Page 36
           1            -Michele Tizzano-                           1            -Michele Tizzano-
           2   the press on behalf of Rosso Uptown?                 2   think it was federal. It could be.
           3      A. Yes.                                           3      Q. Who represented you in that lawsuit?
           4      Q. On how many occasions?                         4      A. Our attorney.
           5      A. It depends if they were calling me.            5      Q. When you our, who was sued in that
           6      Q. Why would a member of the press call           6   lawsuit?
           7   you?                                                 7      A. Me and Massimo.
           8      A. Why they were calling me?                      8      Q. Was Rosso Uptown also sued in that
           9      Q. Yes, why would a member of the press           9   lawsuit?
          10   call you?                                           10      A. It could be.
          11      A. Ask them.                                     11      Q. Which attorneys represented you in
          12      Q. Why would a member of the press call          12   that case?
          13   you about Rosso Uptown?                             13      A. Initially Franco Tini.
          14      A. You have to ask them.                         14      Q. I don't want to know about anything
          15      Q. How would anyone know that you were           15   that you told Mr. Tini because that is completely
          16   affiliated with Rosso Uptown?                       16   confidential. I just want to know: Did you tell
          17      A. You have to ask them.                         17   Mr. Tini the truth?
          18      Q. How many different members of the             18      A. Yes.
          19   press called you to speak about Rosso Uptown?       19      Q. In that lawsuit that you were sued
          20      A. Maybe one, two.                               20   in, did you file any documents with the court?
          21      Q. Do you know how they got your number?         21      A. I don't recall. I don't think so.
          22      A. No.                                           22      Q. Did any Mr. Tini file any documents
          23      Q. Did you ever publish your number              23   with the court?
          24   publicly in a format where people would know that   24      A. You have to get in touch with Tini.
          25   you were involved in some way with Rosso Uptown?    25   I don't recall.


                                                                                     9 (Pages 33 to 36)
                                           Lexitas Court Reporting
                                                 800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 10 of 40 PageID #: 212
                                                                                                 June 3, 2022

                                                  Page 37                                                  Page 39
           1            -Michele Tizzano-                         1             -Michele Tizzano-
           2      Q. Did you ever go to that particular           2            continued.)
           3   court in that lawsuit?                             3               MR. MOSER: Mark them all.
           4      A. No.                                          4               (Whereupon, a six-page document
           5      Q. Who handles all of the hiring and            5            was marked as Plaintiff's Exhibit No.
           6   firing at Pepe Rosso?                              6            1 for identification only, as of this
           7      A. Both me and Massimo.                         7            date.)
           8      Q. Who negotiates wages with employees          8               (Whereupon, a five-page document
           9   on behalf of Pepe Rosso?                           9            was marked as Plaintiff's Exhibit No.
          10      A. Both Massimo and I.                         10            2 for identification only, as of this
          11      Q. Who manages the employees of Pepe           11            date.)
          12   Rosso?                                            12               (Whereupon, a four-page document
          13      A. Both Massimo and I.                         13            was marked as Plaintiff's Exhibit No.
          14      Q. How long have you been operating            14            3 for identification only, as of this
          15   restaurants in Nassau County?                     15            date.)
          16      A. Since 1998.                                 16               (Whereupon, a one-page document
          17      Q. Is it lawful to pay cooks a salary in       17            was marked as Plaintiff's Exhibit No.
          18   Nassau County?                                    18            4 for identification only, as of this
          19      A. It depends.                                 19            date.)
          20      Q. What does it depend on?                     20               (Whereupon, a six-page document
          21      A. If they are the managers or -- there        21            was marked as Plaintiff's Exhibit No.
          22   are some specifics which I'm not sure about it.   22            5 for identification only, as of this
          23   But there are some cases that you can pay by      23            date.)
          24   salary.                                           24               (Whereupon, a three-page
          25      Q. Is it legal to pay waiters a salary         25            document was marked as Plaintiff's

                                                  Page 38                                                  Page 40
           1             -Michele Tizzano-                        1            -Michele Tizzano-
           2   in Nassau County?                                  2           Exhibit No. 6 for identification
           3      A. What's the question?                         3           only, as of this date.)
           4      Q. Is it legal to pay waiters or wait           4               (Whereupon, a one-page document
           5   staff a salary in Nassau County?                   5           was marked as Plaintiff's Exhibit No.
           6      A. It is legal, that's what you're              6           7 for identification only, as of this
           7   asking me?                                         7           date.)
           8      Q. Yes.                                         8   BY MR. MOSER:
           9      A. I don't know.                                9      Q. I just want to go back briefly. When
          10      Q. Is it legal to pay bussers a salary         10   you would work at Rosso Uptown, did the other
          11   in Nassau County?                                 11   employees know that you owned Pepe Rosso?
          12      A. I don't know.                               12      A. They probably do.
          13      Q. Do you know what the minimum wage is        13      Q. How would they know that?
          14   for restaurant employees in Nassau County?        14      A. They know me from town.
          15      A. Yes.                                        15      Q. Were you recognized as a co-owner of
          16      Q. What is that?                               16   Pepe Rosso with Massimo Gammella by the employees
          17      A. 15 dollars an hour.                         17   of Rosso Uptown?
          18      Q. What is the tips minimum wage for           18      A. Yes.
          19   employees in Nassau County?                       19      Q. Did you ever direct any of the
          20      A. 15 with a five dollars credit; tip          20   activities of any employee at Rosso Uptown?
          21   credit it's called.                               21      A. Direct, what do you mean?
          22                MR. MOSER: We can take a             22      Q. Did you ever tell any employee of
          23            two-minute break.                        23   Rosso Uptown while you were working there to do
          24                (Whereupon, a recess was taken.)     24   anything?
          25                (Whereupon, the Deposition was       25      A. When I was helping there, yes.


                                                                                  10 (Pages 37 to 40)
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                                                800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 11 of 40 PageID #: 213
                                                                                                     June 3, 2022

                                                     Page 41                                                  Page 43
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      Q. What would you tell the employees to            2   specific question, the next time I'm not doing a
           3   do when you were helping?                             3   guessing game with you.
           4      A. If I was helping the in dining room,            4      Q. So it could have been more than a
           5   I would show them how to work properly.               5   hundred times or it could have been less than a
           6      Q. How would you show them how to work             6   hundred times that you gave Massimo advice on what
           7   properly?                                             7   to do with employees of Rosso Uptown?
           8      A. That's what I do, Mr. Moser. If                 8      A. Are you repeating the same question
           9   somebody comes to your office, I can show them how    9   to me again over and over? You're repeating the
          10   to how to file, how to do this. You have to be       10   same question. My answer would be the same; I'm
          11   there to do it, right?                               11   not doing this guessing game with you.
          12      Q. How many times would show employees            12      Q. Well, can we say it was more or less
          13   of Rosso Uptown how to do their jobs properly?       13   than five times?
          14      A. As many times as I saw that things             14      A. I'm not doing a guessing with you,
          15   were not done properly.                              15   Mr. Moser.
          16      Q. On how many different occasions did            16      Q. Was there any specific instance that
          17   you do that?                                         17   you can recall in which you spoke to Massimo about
          18      A. When I was helping there?                      18   the employees of Rosso Uptown?
          19      Q. Correct.                                       19      A. Not a specific instance.
          20      A. I don't know. I cannot approximate.            20      Q. Do you recall generally what those
          21      Q. Did you tell employees of Rosso                21   conversations were about?
          22   Uptown what to do more than a hundred times or       22      A. No.
          23   less than a hundred times?                           23      Q. Why would you give Massimo advice on
          24      A. I cannot guess.                                24   what to do with employees of Rosso Uptown?
          25      Q. So is it fair to say it could be more          25      A. It's only if he asked me to.


                                                     Page 42                                                  Page 44
           1           -Michele Tizzano-                             1            -Michele Tizzano-
           2   than a hundred times or it could be less than a       2      Q. So if he asked you, you would give
           3   hundred times; we don't know?                         3   him the advice?
           4      A. Mr. Moser, I am not playing this                4      A. Certainly.
           5   guessing game with you.                               5      Q. Do you recall how many times he asked
           6      Q. Who gave you the authority to tell              6   you to give him advice about the employees?
           7   employees of Rosso Uptown what to do?                 7      A. No.
           8      A. Nobody gave me the authority.                   8      Q. Are you aware of any documents which
           9      Q. If there was an employee of Rosso               9   show who the actual owners of Rosso Uptown were?
          10   Uptown that was especially difficult, what would     10      A. It's a matter of public record; so
          11   you do?                                              11   yes.
          12      A. I would tell Massimo.                          12      Q. There's a matter of public record
          13      Q. Would Massimo listen to your advice?           13   which shows who the owners of Rosso Uptown were?
          14      A. Sometimes he did and sometimes he              14      A. Yes.
          15   didn't.                                              15      Q. What is that record?
          16      Q. On how many times did you give                 16      A. You can go online and get it. It's a
          17   Massimo advice on what to do with employees of       17   matter of public record. You do a search and it
          18   Rosso Uptown?                                        18   shows up.
          19      A. I cannot guess. I don't want to                19      Q. I'm going to show you what's been
          20   guess.                                               20   marked as Plaintiff's Exhibit 1, and I'd like you
          21      Q. Did you give Massimo advice on what            21   to take a look at it and then I'll have some
          22   to do with employees of Rosso Uptown more than a     22   questions for you about it (handing).
          23   hundred times?                                       23      A. (Perusing). Okay.
          24      A. Mr. Moser, again, I'm not doing this           24      Q. What is the first page of this
          25   guessing game with you. Unless you have a            25   document?


                                                                                     11 (Pages 41 to 44)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 12 of 40 PageID #: 214
                                                                                                     June 3, 2022

                                                    Page 45                                                   Page 47
           1           -Michele Tizzano-                             1            -Michele Tizzano-
           2      A. It's an answer.                                 2   designated as agent of the corporation upon whom
           3      Q. Is it your original answer to the               3   process against the corporation may be served, and
           4   complaint in this case?                               4   the address to which the Secretary of State shall
           5      A. Yes.                                            5   mail a copy of any process against the corporation
           6      Q. What is page two?                               6   served upon him is: Care of Massimo Gammella, 664
           7      A. An affidavit.                                   7   Flanders Drive, Valley Stream, New York 11581.
           8      Q. Is that your signature below where it           8           Is that what you're referring to?
           9   says Michele Tizzano?                                 9      A. Yes, sir.
          10      A. Yes.                                           10      Q. Is that the only reference in any
          11      Q. Then Exhibit A, what is Exhibit A?             11   document that you believe shows who the owners of
          12      A. A certificate of incorporation.                12   Rosso Uptown were?
          13      Q. How did you come into possession of            13      A. This is what you gave me, so yes; but
          14   this document?                                       14   there's another paper that shows that the sole
          15      A. I think it was given to me by                  15   proprietor of Rosso Uptown is Massimo Gammella.
          16   Massimo.                                             16      Q. What is that document?
          17      Q. Where can we see who the owners of             17      A. I can provide it to you or maybe I
          18   Rosso Uptown were; where is it a matter of public    18   would produce for you.
          19   record?                                              19      Q. How do we know who the shareholders
          20      A. I think it says over here. No?                 20   were according to this; does it say anywhere in
          21   Secretary of State. Massimo is the only name;        21   this document who the shareholders were?
          22   sole proprietor, no?                                 22      A. No.
          23      Q. Is this the document that you're               23      Q. That being said, does it show
          24   talking about that you say identifies who the        24   anywhere in this document who the actual owners
          25   owners were?                                         25   are?


                                                    Page 46                                                   Page 48
           1             -Michele Tizzano-                           1             -Michele Tizzano-
           2       A. Maybe not fully, but probably yes.             2      A. No, but I can produce documents for
           3       Q. Do you know of any other document              3   you showing it. So if I produce documents who the
           4   other than this which actually shows who the          4   owner is, what happens? You are assuming. If I
           5   owners of Rosso Uptown were?                          5   provide a copy of papers where it shows that Rosso
           6       A. Not at this time.                              6   Uptown is owned by a sole proprietor, what happens
           7       Q. Where in this document does it say             7   to this lawsuit, Mr. Moser? You're making a lot
           8   who the owners of Rosso Uptown were?                  8   of assumptions.
           9       A. I see only one name on it. So it               9      Q. I'm going to show you what's been
          10   should be only one.                                  10   marked as Plaintiff's Exhibit 5 for identification
          11       Q. Where in this document if you could           11   (handing).
          12   please point to me in the document where it tells    12      A. Okay, where do you want me to look
          13   us who the owners of Rosso Uptown are?               13   (perusing)?
          14       A. I'm not a lawyer but I think that             14      Q. Is this the document that you are
          15   it's right here where it says Massimo's name on it   15   referring to that you say shows that Mr. Gammella
          16   (indicating).                                        16   was the only owner of Rosso Uptown?
          17       Q. So you're pointing to the second to           17      A. No.
          18   the last page?                                       18      Q. I want you to look at page one. I'm
          19       A. Yes.                                          19   going to read the second paragraph and I'll begin
          20       Q. Where it begins fifth on the top              20   after Rosso Uptown, Limited.
          21   there?                                               21            It says: I cannot provide any
          22       A. Mm-hmm, yes.                                  22   documents or records to answer Mr. Moser (sic)
          23       Q. I'm going to read that into the               23   discovery requests/instructions from one to two
          24   record:                                              24   and from A to D three to five, definitions from
          25            Fifth: The Secretary of State is            25   one to 12, interrogatories from one to 22.


                                                                                     12 (Pages 45 to 48)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 13 of 40 PageID #: 215
                                                                                                     June 3, 2022

                                                    Page 49                                                   Page 51
           1            -Michele Tizzano-                            1           -Michele Tizzano-
           2           Did you sign that?                            2     A.     It could have been on file.
           3      A. Yes.                                            3               MR. MOSER: I'm going to have to
           4      Q. So you already said that you can't              4          have this marked as Exhibit 8.
           5   provide any document responses to this lawsuit; is    5               (Whereupon, a seven-page
           6   that true?                                            6          document was marked as Plaintiff's
           7      A. What was the question again? Can you            7          Exhibit No. 8 for identification
           8   rephrase it?                                          8          only, as of this date.)
           9      Q. This is addressed to the Court,                 9      Q. Was what's been marked as Plaintiff's
          10   correct?                                             10   Exhibit 5 your response to what I'm going to show
          11      A. Right.                                         11   you now which is Plaintiff's Exhibit 8 (handing)?
          12      Q. Did you tell the Court that you don't          12      A. (Perusing). It could possibly be.
          13   have any documents?                                  13      Q. I don't want to know possibly.
          14      A. Documents -- well, the way it says             14      A. I don't remember. You got to give me
          15   over here, I think you were referring to documents   15   time, but you send us --
          16   and records for Rosso Uptown employees.              16      Q. Take as much time as you need to
          17      Q. Were you truthful to the Court when            17   review the document.
          18   you wrote this letter?                               18      A. (Perusing). Well, thank you for
          19      A. I beg your pardon?                             19   pointing it out to me. Yes, I think it is. And
          20      Q. Were you truthful to the Court when            20   maybe my answer, I made a mistake here in
          21   you wrote this letter?                               21   answering over here. Because I do have --
          22      A. Yes.                                           22      Q. So you --
          23      Q. Is everything in this letter the               23      A. I'm speaking. I do have some
          24   truth?                                               24   documents maybe that they can show who the
          25      A. Yes.                                           25   corporation defendant is, the sole proprietor.


                                                    Page 50                                                   Page 52
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2       Q. Were you ever present for any food             2   Yes, maybe you're right and --
           3   inspections or public health inspections at Rosso     3      Q. So --
           4   Uptown?                                               4      A. I'm speaking, Mr. Moser. And thank
           5       A. I might have.                                  5   you for pointing out to me that I made a mistake
           6       Q. On how many occasions?                         6   in answering over here because I do have documents
           7       A. I cannot say.                                  7   on record that can show that Rosso Uptown is a
           8       Q. Was it more than once?                         8   corporation owned by a sole proprietor.
           9       A. I cannot guess.                                9           I'm not a lawyer. And when I
          10       Q. Was it more than ten times?                   10   presented this answer, I may have made a mistake
          11       A. I cannot guess.                               11   in identifying all the paragraphs (phonetic).
          12       Q. Did you have a food preparation               12   You're right. Thank you for pointing it out to
          13   certificate on file for Rosso Uptown?                13   me. I do have a document that shows who the sole
          14       A. It could be.                                  14   proprietor is.
          15       Q. Why?                                          15      Q. My original question was: Is
          16       A. Because it's good to have it so I can         16   Plaintiff's Exhibit 5 your response to Exhibit 8?
          17   use it.                                              17      A. Yes.
          18       Q. So you can work at the restaurant?            18      Q. When you wrote this -- Plaintiff's
          19       A. Not necessarily.                              19   Exhibit 5 -- you addressed it to Your Honor,
          20       Q. Why would you have a food inspection          20   correct?
          21   certificate on file with a restaurant that you had   21      A. That's what it says, yes.
          22   no ownership in?                                     22      Q. That was addressed to Magistrate
          23       A. I'm not sure if it was on file but            23   Judge Steven Locke, correct?
          24   it's good to have a food certificate.                24      A. Yes, yes.
          25       Q. So it could have been on file?                25      Q. And he's a federal judge, correct?


                                                                                     13 (Pages 49 to 52)
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                                                  800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 14 of 40 PageID #: 216
                                                                                                     June 3, 2022

                                                    Page 53                                                   Page 55
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      A. Yes.                                            2   maybe document request number 19: Records
           3      Q. Somebody notarized your signature,              3   concerning the names, titles and duties of each
           4   correct?                                              4   member of the board of the directors of each
           5      A. Yes.                                            5   corporate defendant, during the relevant time
           6      Q. Your signature appears below your               6   period, along with the dates on which each title
           7   name?                                                 7   was held.
           8      A. Yes.                                            8           I can produce a document for you if
           9      Q. When this individual notarized your             9   you want.
          10   signature, did she ask you to raise your right       10   * Q. Please do. When can you get me that
          11   hand and say that the information herein is true     11   document?
          12   and correct?                                         12      A. I will speak to Massimo and I will
          13      A. No.                                            13   forward it to you as soon as possible.
          14      Q. What did she do?                               14      Q. Are you aware that Massimo told me
          15      A. Looked at my driver's license.                 15   that he doesn't have that document?
          16      Q. You said in the second to the last             16      A. You have to ask Massimo.
          17   paragraph to Judge Locke: I cannot provide any       17      Q. I'll show you his response. I'm
          18   documents or records to answer Mr. Moser's           18   going to show you what's been marked as
          19   discovery requests...                                19   Plaintiff's Exhibit 7. You're seen Mr. Gammella's
          20            Did you in fact tell that to Judge          20   signature before; have you not?
          21   Locke?                                               21      A. It says his name. I don't know -- I
          22      A. Yes. But you pointed something out             22   mean, his signature it could be, yes.
          23   to me and you were right because I should of maybe   23      Q. Before today have you ever seen
          24   not included all the paragraphs from A to D, three   24   Mr. Gammella's signature?
          25   to five, one to 12 and one to 22 because I do have   25      A. Yes.


                                                    Page 54                                                   Page 56
           1           -Michele Tizzano-                             1            -Michele Tizzano-
           2   some papers that maybe can provide that Rosso         2      Q. Does that appear to be his signature
           3   Uptown is owned only by a sole proprietor.            3   on this document?
           4     Q. Where are these documents?                       4      A. Yes.
           5     A. I have to ask Massimo.                           5      Q. I'm just going to read this into the
           6     Q. As you're sitting here today, have               6   record as well.
           7   you produced any document in this case which shows    7      A. But I think -- I believe --
           8   that you were not an owner of Rosso Uptown?           8      Q. There's no question.
           9     A. It could be. I got to go through all             9      A. No, it's not a question. All right,
          10   my answers.                                          10   go ahead.
          11     Q. I'm talking about an independent                11      Q. The first the sentence says: I,
          12   document; I'm not talking about your can answers.    12   Massimo Gammella, president and sole proprietor of
          13          As we're sitting here today, have you         13   Rosso Uptown, Limited in reference to Mr. Moser's
          14   produced any documents which show that you were      14   discovery request can't produce any records
          15   not an owner of Rosso Uptown?                        15   related to his demands.
          16     A. No, but I can produce one to you.               16            Do you see that?
          17   And I'm asking you if I produce one, what happens?   17      A. Mm-hmm, yes.
          18     Q. Well, I don't know why it hasn't been           18      Q. If Mr. Gammella already told us that
          19   produced to date. In fact, I don't know why you      19   he doesn't have these records, how would you get
          20   would tell Judge Locke that you don't have it and    20   them from him?
          21   then come to a deposition and tell me that somehow   21      A. Okay, first of all, the records that
          22   you do. So I'm confused.                             22   I referred in my answer and the records I believe
          23     A. Mr. Moser, I'm not a lawyer. When I             23   Massimo is referring in his answer are the records
          24   presented the answer over here, I should have        24   related to payroll; not to produce a document
          25   maybe leave (sic) out some paragraphs that say --    25   where he can prove that he's the sole proprietor;


                                                                                     14 (Pages 53 to 56)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 15 of 40 PageID #: 217
                                                                                                    June 3, 2022

                                                    Page 57                                                  Page 59
           1            -Michele Tizzano-                            1             -Michele Tizzano-
           2   and even though you can go to public records or to    2   lawsuit?
           3   the Secretary of State and get papers that shows      3      A. We started negotiating with the
           4   that a corporation is owned by one individual, two    4   lawyers; we started negotiating with Borrelli's
           5   individuals, three individuals. Like I said, we       5   office.
           6   are not lawyers.                                      6      Q. Who represented you at the time you
           7           So my answer to your Exhibit 5 over           7   were negotiating with Borrelli's office?
           8   here and Exhibit 8 was related to payroll             8      A. Mr. Tini; yes, Mr. Tini.
           9   documents that you were asking.                       9      Q. Did you eventually come to a
          10      Q. So now you're limiting your responses          10   resolution of the case?
          11   in both your letter which is Plaintiff's Exhibit 5   11      A. Yes.
          12   and Mr. Massimo's letter which is Exhibit 7 to       12      Q. Were you represented by counsel when
          13   only include payroll records? In other words, you    13   you resolved the case?
          14   said you had no records. What you really meant is    14      A. Are you asking if we had a lawyer at
          15   we just don't have payroll record but we have        15   the time?
          16   everything else?                                     16      Q. Yes.
          17      A. I can produce the other paper here,            17      A. No.
          18   the other document that shows who the owner of the   18      Q. I'm going to show you what's been
          19   corporation is.                                      19   marked as Plaintiff's Exhibit 6. It appears to be
          20      Q. Are you familiar with a case by the            20   a letter from Mr. Gammella to the Judge in that
          21   name of Barrera against Pepe Rosso?                  21   other case. Do you see this (handing)?
          22      A. Yes.                                           22      A. (Perusing). Yes.
          23      Q. Are you aware that that was venued in          23      Q. Did you ever write any letters to the
          24   the United States District Court for the Eastern     24   Judge in that case?
          25   District of New York?                                25      A. You know, I don't remember.

                                                    Page 58                                                  Page 60
           1             -Michele Tizzano-                           1            -Michele Tizzano-
           2      A. I told you before I don't know in               2      Q. Who prepared this document; who typed
           3   which court it was held.                              3   this? Who typed that?
           4               MR. MOSER: Mark this.                     4      A. Who typed it; who physically typed
           5               (Whereupon, a 19-page document            5   it?
           6            was marked as Plaintiff's Exhibit No.        6      Q. Correct.
           7            9 for identification only, as of this        7      A. I assume Massimo.
           8            date.)                                       8      Q. Who printed it?
           9      Q. I'm going to show what's been marked            9      A. Massimo.
          10   Plaintiff's Exhibit 9 for identification. Does       10      Q. I'll show you what's been marked as
          11   this refresh your memory about where the other       11   Plaintiff's Exhibit 3 for identification. Do you
          12   lawsuit was filed (handing)?                         12   recognize that document (handing)?
          13      A. (Perusing). It says in the District            13      A. (Perusing). Yes.
          14   Court. So I don't know where the court is.           14      Q. Who wrote this document?
          15      Q. Didn't you in fact represent yourself          15      A. I did.
          16   in this lawsuit at some point in time?               16      Q. Who typed this document?
          17      A. We asked Mr. Tini to resign, yes.              17      A. I assume I did.
          18      Q. So you represented yourself?                   18      Q. Who printed this document?
          19      A. We started negotiating with                    19      A. I did.
          20   Borrelli's office, yes.                              20      Q. Can you can explain why Plaintiff's
          21      Q. So in fact you did represent yourself          21   Exhibits 6 and 3 are almost identical in their
          22   in this lawsuit?                                     22   format?
          23      A. We were speaking through Borrelli's            23      A. Yes.
          24   lawyers, yes.                                        24      Q. How can you explain that?
          25      Q. Did you represent yourself in this             25      A. We share the same printer in the


                                                                                    15 (Pages 57 to 60)
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                                                  800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 16 of 40 PageID #: 218
                                                                                                    June 3, 2022

                                                    Page 61                                                  Page 63
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2   office, the same computer in the office.              2   federal court?
           3      Q. Did someone just change the names on            3      Q. Yes.
           4   this for you and Mr. Gammella and leave everything    4      A. Then yes.
           5   else the same in the letter?                          5      Q. Is everything that you told the Judge
           6      A. Well, we have a template. So if you             6   in the Barrera case true?
           7   have a template, you know, we follow it.              7      A. Yes.
           8      Q. Who did that?                                   8      Q. Did your attorney, Mr. Tini, answer
           9      A. We both did.                                    9   the complaint in the Barrera matter?
          10      Q. You're the one who actually typed              10      A. In the beginning he must have, yes.
          11   this up?                                             11      Q. Was everything in that answer
          12      A. I don't remember.                              12   truthful?
          13      Q. You just testified --                          13      A. I assume yes.
          14      A. I typed mine for sure.                         14      Q. I don't want you to assume. I want
          15      Q. You typed yours for sure but you               15   you to tell me if you were honest with the Court
          16   might not have typed his; is that fair to say?       16   in your answer.
          17      A. Yes.                                           17      A. Yes.
          18      Q. Where did you mail this letter?                18               MR. MOSER: I'm going to mark
          19      A. It was filed and then mailed to                19           this one.
          20   Borrelli, I assume, if it was mailed.                20               (Whereupon, a five-page document
          21      Q. Somebody filed this with the United            21           was marked as Plaintiff's Exhibit No.
          22   States District Clerk (sic) for the Eastern          22           10 for identification only, as of
          23   District of New York. Was that you?                  23           this date.)
          24      A. Maybe Massimo because I -- you know.           24      Q. I'm going to show you what's been
          25   What does this case have to do with Uptown?          25   marked as Plaintiff's Exhibit 10. I'd like you to

                                                    Page 62                                                  Page 64
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      Q. Does this refresh your memory as to             2   turn to the last page. Is your signature on this
           3   where the Barrera case was brought?                   3   document?
           4      A. Well, I see the District Court, yes.            4      A. Yes.
           5      Q. Which is the same court that our case           5      Q. Is Mr. Gammella's signature on this
           6   is in, correct; the United States District Court      6   document?
           7   for the Eastern District of New York?                 7      A. Yes.
           8      A. No, we filed yours in federal; in               8      Q. Below your signature it says that
           9   Islip, no?                                            9   you're signing pro se, on behalf of himself, and
          10      Q. Do you see the caption here? If we             10   all corporate defendants. Do you see that?
          11   look at this caption here -- and I'm pointing to     11      A. Yes.
          12   Plaintiff's Exhibit 9 -- it says United States       12      Q. Did you sign on behalf of all
          13   District Court, Eastern District of New York. Do     13   corporate defendants?
          14   you see that?                                        14      A. Yes.
          15      A. Yes.                                           15      Q. Did you have the authority to sign on
          16      Q. Isn't that the same court where we             16   behalf of all corporate defendants?
          17   are now?                                             17      A. Yes.
          18      A. Our case?                                      18      Q. Thank you.
          19      Q. Yes.                                           19               (Whereupon, a six-page document
          20      A. I think ours in Islip, no, in federal          20           consisting of long pages was marked
          21   court?                                               21           as Plaintiff's Exhibit No. 11 for
          22      Q. Correct.                                       22           identification only, as of this
          23      A. Isn't it federal court, Mr. Moser?             23           date.)
          24      Q. Yes.                                           24      Q. Mr. Tizzano, I'm going to show you
          25      A. The United States District Court is            25   what's been marked as Plaintiff's Exhibit 11 for


                                                                                    16 (Pages 61 to 64)
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                                                  800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 17 of 40 PageID #: 219
                                                                                                   June 3, 2022

                                                   Page 65                                                  Page 67
           1            -Michele Tizzano-                          1           -Michele Tizzano-
           2   identification. I'll tell you what this is          2      Q. You're not saying that you're the one
           3   because it's not evident from the face of the       3   responsible for making sure that the food is
           4   document.                                           4   healthy and fit for public consumption?
           5      A. (Perusing).                                   5      A. Yes.
           6      Q. The New York State Department of              6      Q. So you told the Department of Health
           7   Health keeps records of all inspections of          7   that you were responsible for making sure that the
           8   restaurants. Are you aware of that?                 8   food served at Rosso Uptown was fit for public
           9      A. Yes.                                          9   consumption?
          10      Q. This is a printout of the records            10      A. No, because this certificate, you
          11   maintained by the New York State Department of     11   could have it for one location and another
          12   Health for Rosso Uptown. I see that on the first   12   location. So it applies to the location that
          13   page, your name is mentioned. It says FMTC         13   you're going to post the certificate.
          14   Michael Tizzano on the lower right-hand corner.    14      Q. The food certificate identifies the
          15   Do you see that?                                   15   individual who is responsible for making sure that
          16      A. Mm-hmm, yes.                                 16   the food that is served is fit for public
          17      Q. Do you know why your name appears on         17   consumption, correct?
          18   this document?                                     18      A. It could be a manager. It could be a
          19      A. We discussed before that my food             19   waiter. It could be --
          20   certificate might have been on file.               20      Q. It could be anybody?
          21      Q. This says that the date of inspection        21      A. -- a counterperson, yes.
          22   was October 26th of 2017. So your food             22      Q. The food certificate identifies that
          23   certificate was on file as of that date?           23   individual, correct?
          24      A. It could be before. It could be,             24      A. Yes.
          25   yes.                                               25      Q. That particular individual was


                                                   Page 66                                                  Page 68
           1            -Michele Tizzano-                          1             -Michele Tizzano-
           2      Q. If you look on page two on the lower          2   identified as you, correct?
           3   right-hand corner, it mentions your name again,     3       A. Yes.
           4   correct?                                            4       Q. For Rosso Uptown, correct?
           5      A. Mm-hmm, of course it does.                    5       A. If the certificate is for Rosso
           6      Q. That's because your food certificate          6   Uptown, yes.
           7   was on file with Rosso Uptown?                      7       Q. Why did you represent to the New York
           8      A. Yes, sir.                                     8   State Department of Health that you were
           9      Q. If we look at each page of this               9   responsible for making sure that the food served
          10   document, does your name appear on each page of    10   at Rosso Uptown was fit for public consumption?
          11   this document?                                     11       A. Because Pepe Rosso holds Massimo's
          12      A. Yes, it goes to the first inspection         12   name and Massimo needed somebody. And at that
          13   date. So that's why it shows.                      13   time Massimo could not find a manager or a cook to
          14      Q. Were you present for all of those            14   hold the certificate. So I went to get it.
          15   inspections?                                       15       Q. So you did it to help Massimo?
          16      A. It could be; maybe not. Who owns the         16       A. Yes, sir.
          17   certificate, you know, a manager doesn't have to   17       Q. Were you in fact responsible for
          18   be on the premises for the inspection.             18   making sure that the food served at Rosso Uptown
          19      Q. When you obtain a food certificate           19   was fit for human consumption?
          20   for a restaurant, do you make certain              20       A. Yes and no.
          21   representations about what you're doing there?     21       Q. What do you mean?
          22      A. No.                                          22       A. Because the matter of truth is you
          23      Q. So you don't say that you're the one         23   can hold the certificate but it doesn't mean that
          24   preparing the food?                                24   you are there constantly. That's what happens.
          25      A. No.                                          25   It's the truth, it's reality but that's what


                                                                                   17 (Pages 65 to 68)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 18 of 40 PageID #: 220
                                                                                                    June 3, 2022

                                                    Page 69                                                  Page 71
           1            -Michele Tizzano-                           1            -Michele Tizzano-
           2   happens. And whoever owns a certificate, a           2   is that?
           3   manager, does not certainly mean that you own a      3      A. That's the website e-mail.
           4   business. I can have a restaurant and I can have     4      Q. Who has access to that e-mail?
           5   a manager go get a food certificate and post it.     5      A. Right now, Massimo and I both do.
           6   That doesn't mean he's the owner. You can go         6      Q. You both have access to that e-mail,
           7   tomorrow and get a certificate and post it in a      7   correct?
           8   deli. That doesn't make you the owner.               8      A. Recently we do, yes.
           9               MR. MOSER: Mark these.                   9      Q. Who created that e-mail address?
          10               (Whereupon, a one-page document         10      A. Massimo did.
          11           was marked as Plaintiff's Exhibit No.       11      Q. I'm looking at Plaintiff's Exhibit 12
          12           12 for identification only, as of           12   and do you see where it say text at (516) 382-5529
          13           this date.)                                 13   (sic)?
          14               (Whereupon, a one-page document         14      A. 5549, yes.
          15           was marked as Plaintiff's Exhibit No.       15      Q. 5549, correct. Whose phone number is
          16           13 for identification only, as of           16   that?
          17           this date.)                                 17      A. It used to be mine.
          18               (Whereupon, an eight-page               18      Q. Your phone number?
          19           document was marked as Plaintiff's          19      A. Mm-hmm, yeah.
          20           Exhibit No. 14 for identification           20      Q. So is it fair to say that you put a
          21           only, as of this date.)                     21   job posting for Rosso Uptown asking for people who
          22      Q. I'm going to show you what's been             22   are looking to be hired to text you?
          23   marked as Plaintiff's Exhibit 12 for                23      A. Yes.
          24   identification. Do you recognize this document      24      Q. Why?
          25   (handing)?                                          25      A. They would text me and I referred


                                                    Page 70                                                  Page 72
           1             -Michele Tizzano-                          1            -Michele Tizzano-
           2      A. (Perusing). Yes.                               2   them to Massimo or I used to tell them, you know,
           3      Q. What is this?                                  3   what kind of position that needs to be filled and
           4      A. It looks a page from either Facebook           4   I pass them on to Massimo.
           5   or Instagram.                                        5      Q. Did you have permission from Massimo
           6      Q. Is this your Facebook page?                    6   to do this?
           7      A. Mm-hmm, yes -- no, not mine; the               7      A. Sometimes yes and sometimes no.
           8   restaurant's, maybe a manager.                       8      Q. Why did you put your phone number
           9      Q. Was this --                                    9   here instead of Massimo's if Massimo was the one
          10      A. Oh, my Facebook page. It is my                10   doing the hiring?
          11   personal Facebook page.                             11      A. Because I think I have a better
          12      Q. Just to clarify, Plaintiff's Exhibit          12   character of judgment when it comes to this.
          13   12 is a printout of a posting from your personal    13      Q. So you were better qualified to
          14   Facebook page?                                      14   determine --
          15      A. Yes.                                          15      A. I have a niche for it.
          16      Q. It says we are hiring?                        16      Q. You were better qualified to make
          17      A. Yes.                                          17   hiring decisions for Rosso Uptown than
          18      Q. Why did you put this on your Facebook         18   Mr. Gammella?
          19   page?                                               19      A. No hiring.
          20      A. Well, if Massimo was in need of               20      Q. Then what would you call it?
          21   recruiting employees, I would help. Before we       21      A. Judge of character.
          22   said it that I used to manage; you know, I helped   22      Q. Judge of character of --
          23   with Instagram and Facebook page. I don't see       23      A. Just by talking to people.
          24   nothing wrong.                                      24      Q. Judge of character of potential
          25      Q. Mm@rossouptown, whose e-mail address          25   employees?


                                                                                    18 (Pages 69 to 72)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 19 of 40 PageID #: 221
                                                                                                   June 3, 2022

                                                    Page 73                                                  Page 75
           1            -Michele Tizzano-                           1           -Michele Tizzano-
           2      A. If Massimo agreed, probably.                   2      A. But any mail name does not define a
           3      Q. How would you judge the character of           3   business per se. I could have mm@whatever --
           4   potential employees who were applying?               4   mainstreet, bakery. What does it mean, Mr. Moser.
           5      A. Asking questions: Where they worked            5   You're talking about 2018.
           6   before; what type of abilities; if they know the     6      Q. I'm going to show you what's been
           7   difference between, you know, how to cook a set      7   marked as Exhibit 14 and I'd like you to look at
           8   (phonetic) recipe; how to use a machine.             8   this (handing).
           9      Q. So you would conduct a job interview?          9      A. (Perusing).
          10      A. No, not necessary.                            10      Q. What is this?
          11      Q. So you would ask them about their             11      A. It seems you had a good time going
          12   experience, correct?                                12   through my Facebook page.
          13      A. Mm-hmm, yeah.                                 13      Q. Is it your Facebook page?
          14      Q. You would ask them about their                14      A. Yes, it is.
          15   knowledge?                                          15      Q. Where it says on the second page
          16      A. Yes.                                          16   Brick Osteria --
          17      Q. And you would make a determination as         17      A. The second page?
          18   to their character, correct?                        18      Q. Yes.
          19      A. If I met them personally, probably            19      A. Where?
          20   yes.                                                20      Q. The second page.
          21      Q. And this was not a job interview?             21      A. Anthony Soldano and 12 others at
          22      A. No.                                           22   Brick Osteria?
          23      Q. How many times did you meet with              23      Q. Do you see that?
          24   people personally to determine their character      24      A. Are you talking about the bottom?
          25   before they were hired at Rosso Uptown?             25      Q. Yes, I'm talking about the first post


                                                    Page 74                                                  Page 76
           1           -Michele Tizzano-                            1            -Michele Tizzano-
           2      A. I'm not doing a guessing game again.           2   underneath the word posts.
           3      Q. Could it have been a hundred times?            3      A. Yes, Michael Tizzano is with Anthony
           4      A. Mr. Moser, again, I'm not guessing.            4   Soldano and 12 others at Brick Osteria.
           5      Q. Can you give me any approximation of           5      Q. Did you in fact make this post?
           6   how many times you met with people who were          6      A. Yes.
           7   applying for work at Rosso Uptown to evaluate        7      Q. When it says Brick Osteria, does that
           8   their character?                                     8   mean that you were at the same premises of Rosso
           9      A. No.                                            9   Uptown?
          10      Q. I want you to look at 13. Is this             10      A. It's a Facebook page. Most probably
          11   also a posting on your Facebook page?               11   yes, we were at the location and 12 others.
          12      A. It says my name on it; August of              12      Q. Whenever we see Brick Osteria in this
          13   2018, yes.                                          13   document, it's referring to Rosso Uptown, Limited
          14      Q. Were people in fact e-mailing you at          14   doing business as Brick Osteria, correct?
          15   mm@rossouptown in August of 2018?                   15      A. We established before that Rosso
          16      A. We established that                           16   Uptown changed identities three times; Brick
          17   mm@rossouptown.com is a shared e-mail with          17   Osteria, 11 Zero 50. Yes, so it's a correct
          18   Massimo. So we both had access.                     18   assumption that we're referring to Rosso Uptown.
          19      Q. Why; why would you have access to the         19      Q. You were in all of these postings.
          20   Rosso Uptown e-mail?                                20   Were you just eating at the restaurant; why were
          21      A. Because Massimo and I shared an               21   you making these posts?
          22   e-mail. It makes sense for us.                      22      A. Well, it could be probably that I was
          23      Q. Even though you were not a manager            23   having dinner there and I posted; like all the
          24   and did not own the restaurant and had nothing to   24   influencers do now in social media.
          25   do with it?                                         25      Q. I want you to look at the fourth page


                                                                                   19 (Pages 73 to 76)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 20 of 40 PageID #: 222
                                                                                                  June 3, 2022

                                                   Page 77                                                 Page 79
           1            -Michele Tizzano-                          1            -Michele Tizzano-
           2   which has basically a picture of a pizza.           2           was marked as Plaintiff's Exhibit No.
           3      A. Okay.                                         3           17 for identification only, as of
           4      Q. You put a posting here: Our version           4           this date.)
           5   of upside down cheese at the bottom sauce on top    5              (Whereupon, an eight-page
           6   and lots of parmesan.                               6           document was marked as Plaintiff's
           7      A. Mm-hmm.                                       7           Exhibit No. 18 for identification
           8      Q. Did you write that?                           8           only, as of this date.)
           9      A. If it's on my Facebook page, yes.             9              (Whereupon, a two-page document
          10      Q. When you say our version, whom are           10           was marked as Plaintiff's Exhibit No.
          11   you referring to?                                  11           19 for identification only, as of
          12      A. The restaurant itself.                       12           this date.)
          13      Q. You're referring to Rosso Uptown?            13              (Whereupon, a ten-page document
          14      A. Yeah. A word, what does it mean, you         14           was marked as Plaintiff's Exhibit No.
          15   know. If I would say my version of upside down,    15           20 for identification only, as of
          16   it would be, you know, my restaurant if it's our   16           this date.)
          17   restaurant. I don't get it.                        17     Q. I'm going to show you what's been
          18      Q. Were you truthful when you said it           18   marked Plaintiff's Exhibit 15.
          19   was our version?                                   19           Do you know a woman by the name of
          20      A. Yeah, it could be from the                   20   Joanne Starkey (handing)?
          21   restaurant, yes; why not. If I was teaching them   21     A. (Perusing). Not personally know her;
          22   something, maybe experimenting, you know.          22   but yes, who she is or who she was.
          23      Q. I'd like you to keep changing the            23     Q. Who is she?
          24   pages until you see like a half pepperoni and a    24     A. She was a writer for the New York
          25   half spinach pie.                                  25   Times.

                                                   Page 78                                                 Page 80
           1            -Michele Tizzano-                          1           -Michele Tizzano-
           2           The second line here says: Happy            2      Q. Let's go to Exhibit 16. Do you know
           3   holidays from all of us at Brick.                   3   an individual by the name of Luke Torrence?
           4           You wrote that?                             4      A. Luke Torrence, no.
           5       A. Yes.                                         5      Q. Did you ever tell a member of the
           6       Q. When you say all of us, whom are you         6   press that you were the general manager of Rosso
           7   referring to?                                       7   Uptown?
           8       A. Whoever was in the room.                     8      A. I might have.
           9       Q. You're referring to Rosso Uptown,            9      Q. Why would you tell a member of the
          10   correct?                                           10   press that you were the general manager of Rosso
          11       A. If it was at Brick, yes.                    11   Uptown?
          12       Q. Then if you look at the bottom, again       12      A. If they call me and they assume that
          13   it says: Happy holidays from all of us at Brick.   13   I was and I told them, like I told you before, it
          14           That refers to Rosso Uptown, correct?      14   was to help Massimo.
          15       A. We just said that, yes.                     15      Q. When people called the telephone
          16              MR. MOSER: Mark these.                  16   number for Rosso Uptown, would you answer the
          17              (Whereupon, a two-page document         17   phone?
          18           was marked as Plaintiff's Exhibit No.      18      A. The physical location of the
          19           15 for identification only, as of          19   restaurant?
          20           this date.)                                20      Q. Yes.
          21              (Whereupon, a two-page document         21      A. If I was there, yes.
          22           was marked as Plaintiff's Exhibit No.      22      Q. Did you in fact speak to a reporter
          23           16 for identification only, as of          23   in approximately September of 2017 about Rosso
          24           this date.)                                24   Uptown?
          25              (Whereupon, an 11-page document         25      A. 2017, I might have.


                                                                                  20 (Pages 77 to 80)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 21 of 40 PageID #: 223
                                                                                                     June 3, 2022

                                                     Page 81                                                   Page 83
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      Q. Do you recall saying any of these               2   it up?
           3   things to a reporter?                                 3      A. No, I told her.
           4      A. Yes.                                            4      Q. Let's go to Exhibit 18. Do you
           5      Q. Do you have any reason to believe               5   recognize this (handing)?
           6   that you didn't say the things that are printed in    6      A. (Perusing). Yes.
           7   this document?                                        7      Q. Do you recall speaking to Erica
           8      A. That I did not?                                 8   Marcus about this particular article?
           9      Q. Yes. In other words, as you're                  9      A. Yes.
          10   sitting here today, are you saying that you didn't   10      Q. Did she interview you?
          11   say any of the things that are listed in this        11      A. I think it was a telephone
          12   document?                                            12   conversation.
          13      A. I don't remember the nature of the             13      Q. Did you tell her that you were the
          14   conversation. So maybe yes or maybe not. 2017?       14   general manager of 11 Zero 50?
          15      Q. But you did tell him that you were             15      A. In this particular conversation, I
          16   the general manager of Rosso Uptown?                 16   don't remember.
          17      A. General manager is big way of                  17      Q. If we with look at the second page,
          18   describing what I did over there; if I ever helped   18   it says here when request referring to Rosso
          19   or if I was there for an hour or two in a week or    19   Uptown that: Partners Michael Tizzano and Massimo
          20   so.                                                  20   Gammella have brought on consulting executive chef
          21      Q. But you did in fact tell the reporter          21   Michael Heinlein -- H-E-I-N-L-E-I-N -- to re-boot
          22   that you were the general manager of Rosso Uptown?   22   the kitchen.
          23      A. I might have.                                  23           Is that correct?
          24      Q. Let's turn to Plaintiff's Exhibit 17.          24      A. Yes she's referring to my partner
          25   Have you ever seen this before (handing)?            25   because Massimo and I are partners Pepe Rosso.


                                                     Page 82                                                   Page 84
           1           -Michele Tizzano-                             1            -Michele Tizzano-
           2      A. (Perusing). Mm-hmm, yes.                        2      Q. Where was Mr. Heinlein brought to
           3      Q. When did you see this?                          3   re-boot the kitchen?
           4      A. I guess when it came out.                       4      A. When or where?
           5      Q. No, what is this?                               5      Q. Where?
           6      A. The date?                                       6      A. At Rosso Uptown when he changed to 11
           7      Q. No, what is this?                               7   Zero 50.
           8      A. Oh, what is it?                                 8      Q. Did you in fact bring on consulting
           9      Q. Yes.                                            9   executive chef Michael Heinlein into Rosso Uptown?
          10      A. It's a review.                                 10      A. Did I bring him in?
          11      Q. Published by Newsday?                          11      Q. Yes.
          12      A. Yes.                                           12      A. I think it was Massimo's decision.
          13      Q. Did you speak with Erica Marcus of             13      Q. Who put Massimo in touch with him?
          14   Newsday?                                             14      A. There was a guy that used to work at
          15      A. Yes.                                           15   Sysco that recommended Mike Heinlein. And I told
          16      Q. Did you tell her that you were the             16   Massimo I do not like this guy, do not hire him.
          17   general manager of Rosso Uptown?                     17      Q. Were you partners with Mr. Gammella
          18      A. I might have.                                  18   at Rosso Uptown?
          19      Q. I'm not talking about what you might           19      A. No.
          20   have. I'm talking about when she prints on this      20      Q. Did you tell the reporter that wrote
          21   document and she says general manager Michael        21   the article that's listed in this exhibit that you
          22   Tizzano, did she make that up or did you tell her    22   were partners with Massimo at Rosso Uptown?
          23   that?                                                23      A. No, it was a short-lived lived
          24      A. I might have told her.                         24   restaurant. It was open for three months.
          25      Q. Did you tell her that or did she make          25      Q. I'm going to show you what's been


                                                                                     21 (Pages 81 to 84)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 22 of 40 PageID #: 224
                                                                                                     June 3, 2022

                                                    Page 85                                                    Page 87
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2   marked as Plaintiff's Exhibit 19. Did you speak       2   understand it.
           3   with Mr. Torrence about 11 Zero 50 (handing)?         3      Q. I'm going to show you what's been
           4      A. (Perusing). No, I don't think so.               4   marked Plaintiff's Exhibit 20.
           5      Q. Did you speak with any reporter about           5            Actually, let me go back to Exhibit
           6   the closing of 11 Zero 50?                            6   19. What were you mad about?
           7      A. Yes.                                            7      A. Because 11 Zero 50 which was the
           8      Q. Do you recall which reporters you               8   third reincarnation of Uptown lived for three
           9   spoke to?                                             9   months. The guy that Massimo hired -- Mike
          10      A. No, I don't recall, Mr. Moser.                 10   Heinlein -- to supervise the kitchen, a new menu
          11      Q. I want you to take a moment to read            11   because it was a new concept, Massimo opened up I
          12   through this document and please tell me if          12   think it was a Monday and the guy didn't show up
          13   there's anything in here that's incorrect.           13   on Tuesday. He was left with nobody.
          14      A. (Perusing). Well, it says that the             14            Mr. Moser, I worked two months in the
          15   restaurant was re-branding itself; that Michael      15   kitchen helping Massimo. And in August I think --
          16   Tizzano co-owns the restaurant Massimo Gammella.     16   no, maybe in October of 2018 or in August of 2018,
          17   But you have to ask him why he wrote that. Get in    17   we were served with Mr. Borrelli's lawsuit. So by
          18   touch with Mr. Torrence and ask him.                 18   the time you hire a lawyer and this and that, we
          19      Q. Did you say the things that are                19   were left with zero, nothing. I really broke my
          20   quoted as being said by you?                         20   back to help him out with no results whatsoever
          21      A. Can you rephrase that?                         21   and then decided to close the doors.
          22      Q. Did you tell Luke Torrence that you            22            So from August of 2018 to October of
          23   were a co-owner with Massimo Gammella of 11 Zero     23   2018, he lost a lot of money and that was why I
          24   50?                                                  24   was mad. Because I think we've been always very
          25      A. No.                                            25   fair with our employees.


                                                    Page 86                                                    Page 88
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2      Q. So Mr. Torrence if he wrote that,               2      Q. You think you shouldn't be sued if
           3   he's lying?                                           3   you're fair with employees?
           4      A. You can ask him. Send him a subpoena            4      A. No. Okay, now maybe from a
           5   and ask him.                                          5   conversation -- from a question and now we go to a
           6      Q. So in your words he made that up?               6   conversation, I don't want to do that. I have my
           7      A. It could possibly be. I would assume            7   opinion.
           8   that because I own Pepe Rosso, he must have.          8      Q. Do you think it's enough to just be
           9      Q. Can you think of a reason why he wold           9   fair with employees?
          10   just make that up?                                   10      A. No. I think it's unfair when you do
          11      A. I don't know.                                  11   the right thing and then the law gives them an
          12      Q. I'm going to point your attention to           12   upper hand to come and to sue you and meets their
          13   basically the third paragraph where it opens with    13   way of coming, you know, above you.
          14   a quote and it says, "We are not sad, we are mad."   14      Q. How does the law give them an upper
          15           Did you say that?                            15   hand?
          16      A. Yes.                                           16      A. We're here now. Right? What are we
          17      Q. Did you also say that you were, "Mad           17   doing here? I'm here defending myself, you know.
          18   at a system that does not protect employers, a       18   You're asking me questions already for three
          19   system that allows others to reach into your         19   hours. I got to leave my things to come here and
          20   pocket and entitles them to whatever they think      20   answer you.
          21   they are entitled to?"                               21      Q. Why do you say that the employees
          22      A. I certainly did.                               22   have the upper hand?
          23      Q. Is that your opinion of the wage laws          23      A. Because they can go to somebody like
          24   that protect restaurant employees?                   24   you and expose their case and the court maybe can
          25      A. Yes. You have to own a restaurant to           25   give them, you know, a reason and say you know


                                                                                     22 (Pages 85 to 88)
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Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 23 of 40 PageID #: 225
                                                                                                    June 3, 2022

                                                     Page 89                                                   Page 91
           1            -Michele Tizzano-                            1            -Michele Tizzano-
           2   what, now pay up Mr. Tizzano.                         2   employees at Rosso Uptown?
           3      Q. The truth is that you and                       3      A. Mr. Moser, if I was there for an hour
           4   Mr. Gammella did not keep proper records of the       4   or two and I saw things not going right, I would
           5   hours that your employees were working; isn't that    5   tell them what to do or how to do it. Does that
           6   true?                                                 6   make me an owner of a business?
           7      A. You have to ask my accountant.                  7      Q. Were there any categories of
           8      Q. And because you didn't keep proper              8   employees that you would not correct or give
           9   records, you're exposed to lawsuits; isn't that       9   advice to when you worked there?
          10   true?                                                10      A. Maybe if he had any drivers on, like
          11      A. Ask my accountant.                             11   delivery guys, I had nothing to do with that.
          12      Q. The reason why you have to say that            12   That was not for me to -- you know, I have no
          13   you had nothing to do with the management or         13   expertise in that.
          14   operation of this business is because at least on    14              MR. MOSER: Thank you for your
          15   three occasions you swore under oath to a federal    15           time. I have no further questions.
          16   judge that you had nothing to do with the            16              (Time noted: 12:45 P.M.)
          17   operation of Rosso Uptown?                           17               ______________________
          18      A. Yes.                                           18               MICHELE TIZZANO
          19      Q. And you can't go back on that?                 19
          20      A. I swore that I was never an owner.             20   Subscribed and sworn to
          21   If you can show me concrete evidence that I own it   21   before me this day
          22   legally -- you cannot come here and show me a        22   of      , 2022.
          23   Facebook page, Mr. Moser, when I take pictures and   23
          24   --                                                   24   _________________________
          25      Q. So here's my concern: Every single             25   NOTARY PUBLIC

                                                     Page 90                                                   Page 92
           1            -Michele Tizzano-                            1
           2   document that we've seen today suggests that you      2           INDEX
           3   were the manager and owner of this restaurant but     3   EXAMINATION BY                             PAGE
           4   I haven't seen one document that says otherwise       4   MR. MOSER                             04
           5   and you already told Judge Locke that you don't       5
           6   have any other documents that show otherwise. So      6
           7   can you please explain to me why you still say        7
           8   that you had nothing to do with the operation of      8            EXHIBITS
           9   this business?                                        9   PLF'S
          10      A. Because I didn't. And when we                  10   FOR ID DESCRIPTION                 Pg Ln
          11   started the deposition, when you say manager and I   11   1 Six-page document            39 04
          12   told you before managing, it's a vast array of       12   2 Five-page document            39 08
          13   things. If you think that being in a place and       13   3 Four-page document            39 12
          14   helping Massimo -- maybe directing a waiter or       14   4 One-page document             39 16
          15   tasting tomato sauce or making a pizza -- is         15   5 Six-page document            39 20
          16   owning a business, then I owned it. But legally I    16   6 Three-page document            39 24
          17   don't own it. If I was there to help him out, I      17   7 One-page document             40 04
          18   don't think that makes me an owner. If I helped      18   8 Seven-page document            51 05
          19   him in the kitchen, literally sweating just to       19   9 19-page document             58 05
          20   help him out when the guy walked out of it, then     20   10 Five-page document           63 20
          21   you tell me if that makes me an owner. You will      21   11 Six-page document consisting
          22   have to find -- I guess. I'm sure you did in the     22      of long pages           64 19
          23   past.                                                23   12 One-page document             69 10
          24      Q. I know that you're saying you weren't          24
          25   an owner. Are you saying that you didn't direct      25   (Index continued on the next page.)


                                                                                    23 (Pages 89 to 92)
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                                                  800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 24 of 40 PageID #: 226
                                                                                                        June 3, 2022

                                                        Page 93                                                   Page 95
           1                                                        1   ERRATA SHEET FOR: MICHELE TIZZANO, PRO SE
           2        CONTINUED INDEX                                       MICHELE TIZZANO, PRO SE, being duly sworn, deposes and
                                                                    2     says: I have reviewed the transcript of my
           3
                                                                          proceeding taken on 06/03/2022. The following
           4      CONTINUED EXHIBITS                                3     changes are necessary to correct my testimony.
           5   PLF'S                                                4   ______________________________________________
           6   FOR ID DESCRIPTION         Pg Ln                     5   PAGE LINE CHANGE                            REASON
           7   13 One-page document    69 14                        6   ----|----|---------------------|--------------
           8   14 Eight-page document  69 18                        7   ----|----|---------------------|--------------
           9   15 Two-page document     78 17                       8   ----|----|---------------------|--------------
                                                                    9   ----|----|---------------------|--------------
          10   16 Two-page document     78 21
                                                                   10   ----|----|---------------------|--------------
          11   17 11-page document    78 25                        11   ----|----|---------------------|--------------
          12   18 Eight-page document  79 05                       12   ----|----|---------------------|--------------
          13   19 Two-page document     79 09                      13   ----|----|---------------------|--------------
          14   20 Ten-page document    79 13                       14   ----|----|---------------------|--------------
          15                                                       15   ----|----|---------------------|--------------
                                                                   16   ----|----|---------------------|--------------
          16
                                                                   17   ----|----|---------------------|--------------
          17       REQUESTS AND DOCUMENT PRODUCTION                18   ----|----|---------------------|--------------
          18   Pg Ln                                               19   ----|----|---------------------|--------------
          19   55 10 Document                                      20   ----|----|---------------------|--------------
          20                                                       21   ----|----|---------------------|--------------
          21                                                       22   ----|----|---------------------|--------------
          22             RULINGS                                   23         Witness Signature:_____________________
                                                                        Subscribed and sworn to, before me
          23              NONE
                                                                   24   this ___ day of __________, 20 ___.
          24
                                                                        ____________________ ___________________
          25                                                       25   (NOTARY PUBLIC)                   MY COMMISSION EXPIRES


                                                        Page 94
           1
           2            CERTIFICATE
           3
           4            I, GRACE NUCCIO, a Shorthand and
           5   Notary Public of the State of New York, do hereby
           6   certify:
           7
           8           That, MICHELE TIZZANO, the witness
           9   whose examination is hereinbefore set forth, was
          10   duly sworn, and that such examination is a true
          11   record of the testimony given by such witness.
          12
          13            I further certify that I am not
          14   related to any of the parties to this action by
          15   blood or marriage; and that I am in no way
          16   interested in the outcome of this matter.
          17
          18                        ______________________
          19                           GRACE NUCCIO
          20
          21
          22
          23
          24
          25


                                                                                      24 (Pages 93 to 95)
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                                                     800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 25 of 40 PageID #: 227

                                                                                 June 3, 2022
                                                                                   [Page 96]

                  A         34:16             applying (2)      33:16 42:6,8   22:12
          a.m (1)           against- (1)      73:4 74:7          64:15         benefits (1)
          1:14              1:7               approximate...    authorized (1) 18:19
          abilities (1)     agent (1)         15:14 41:20       3:9            best (1)
          73:6              47:2              approximate...    aware (4)      32:12
          above-menti...    ago (4)           12:12 35:18       44:8 55:14     better (3)
          1:21              5:16 26:9,11        80:23            57:23 65:8    72:11,13,16
          access (5)          35:19           approximati...                   big (1)
                            agreed (3)        12:14 14:25              B       81:17
          24:14 71:4,6
            74:18,19        3:4,13 73:2         15:12 22:4      B (2)          blood (1)
          accountant (2)    ahead (1)           74:5            92:8 93:4      94:15
          89:7,11           56:10             array (1)         back (5)       board (1)
          accounts (1)      allows (1)        90:12             16:15 40:9     55:4
          24:22             86:19             article (2)        87:5,20 89:19 Borrelli (1)
          Act (2)           answer (18)       83:8 84:21        bakery (1)     61:20
          5:2 35:14         5:5,8 43:10       asked (5)         75:4           Borrelli's (5)
          action (1)          45:2,3 48:22    23:15 43:25       bank (1)       58:20,23 59:4
          94:14               51:20 52:10       44:2,5 58:17    24:22            59:7 87:17
          activities (1)      53:18 54:24     asking (11)       Barrera (4)    bottom (3)
          40:20               56:22,23 57:7   22:20 23:3,11     57:21 62:3     75:24 77:5
          actual (2)          63:8,11,16        23:18 38:7       63:6,9          78:12
          44:9 47:24          80:16 88:20       54:17 57:9      based (2)      Brazilian (1)
          additional (1)    answering (2)       59:14 71:21     13:12,17       25:23
          16:15             51:21 52:6          73:5 88:18      basically (3)  bread (1)
          address (6)       answers (2)       assume (7)        26:24 77:2     16:7
          4:10,12 9:12      54:10,12          60:7,17 61:20      86:13         break (1)
            47:4 70:25      Anthony (2)         63:13,14        basis (1)      38:23
            71:9            75:21 76:3          80:12 86:7      14:20          Brick (15)
          addressed (3)     Antonio (6)       assuming (1)      beg (3)        12:20,22,24
          49:9 52:19,22     1:5 28:2,4,8,11   48:4              22:9 33:24       13:5,23 75:16
          administer (1)      28:25           assumption (1)     49:19           75:22 76:4,7
          3:9               anybody (2)       76:18             beginning (1)    76:12,14,16
          advice (18)       9:25 67:20        assumptions ...   63:10            78:3,11,13
          22:20,21,23       Apartment (1)     48:8              begins (1)     briefly (2)
            23:7,8,9,18     4:13              attention (1)     46:20          13:19 40:9
            23:21 24:8,11   appear (2)        86:12             behalf (7)     bring (4)
            42:13,17,21     56:2 66:10        attorney (2)      33:17,23 34:2  16:2,5 84:8,10
            43:6,23 44:3    appears (3)       36:4 63:8          37:9 64:9,12 Broad (1)
            44:6 91:9       53:6 59:19        attorneys (3)      64:16         1:12
          advise (2)          65:17           2:4 3:5 36:11     believe (7)    broke (1)
          23:4 24:3         applies (1)       August (5)        4:19 9:17      87:19
          affidavit (1)     67:12             74:12,15 87:15     10:23 47:11   brother (1)
          45:7              apply (1)           87:16,22         56:7,22 81:5  6:5
          affiliated (1)    24:5              authority (4)     benefit (1)    brought (6)


                                  Lexitas Court Reporting
                                        800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 26 of 40 PageID #: 228

                                                                                June 3, 2022
                                                                                    [Page 97]

           15:23 16:8,19     62:18 63:6        chef (2)          36:15                43:21
           62:3 83:20        88:24             83:20 84:9        computer (1)       cook (5)
           84:2            cases (1)           city (1)          61:2               15:19,19,21
          business (21)    37:23               9:14              concept (2)          68:13 73:7
          9:23 10:21       categories (1)      clarify (2)       30:4 87:11         cooks (1)
           11:4,6,9,19     91:7                21:10 70:12       concern (1)        37:17
           11:25 12:4      Centre (2)          clear (1)         89:25              copy (2)
           13:7,20,22      9:8,20              21:18             concerning (1)     47:5 48:5
           14:10 22:19     certain (1)         Clerk (1)         55:3               core (1)
           24:15 69:4      66:20               61:22             concrete (1)       27:5
           75:3 76:14      certainly (3)       close (1)         89:21              corner (2)
           89:14 90:9,16   44:4 69:3           87:21             conduct (1)        65:14 66:3
           91:6              86:22             closed (2)        73:9               corporate (4)
          businesses (2)   certificate (19)    9:18 19:5         confidential ...   55:5 64:10,13
          8:9 10:24        45:12 50:13,21      closing (1)       36:16                64:16
          bussers (1)        50:24 65:20       85:6              confused (1)       corporation ...
          38:10              65:23 66:6,17     co-owner (2)      54:22              47:2,3,5 51:25
                             66:19 67:10       40:15 85:23       Connecticut ...      52:8 57:4,19
                C            67:13,14,22       co-owns (1)       9:8,10 10:21       correct (29)
          C (6)              68:5,14,23        85:16             consisting (2)     10:22 21:10,17
          2:2 4:2 93:2,4     69:2,5,7          collecting (1)    64:20 92:21          41:19 49:10
            94:2,2         certification ...   33:5              constantly (1)       52:20,23,25
          call (5)         3:6                 combination ...   68:24                53:4,12 60:6
          34:6,10,12       certify (2)         26:16             consulting (7)       62:6,22 66:4
            72:20 80:12    94:6,13             come (6)          8:16,18,25 9:2       67:17,23 68:2
          called (5)       change (9)          45:13 54:21         9:20 83:20         68:4 71:7,15
          4:3 11:10        12:16,19,21,22        59:9 88:12,19     84:8               73:12,18
            34:19 38:21      12:24 13:3          89:22           consumption...       76:14,17
            80:15            19:2 61:3         comes (2)         67:4,9,17            78:10,14
          calling (2)        95:5              41:9 72:12          68:10,19           83:23 91:8
          34:5,8           changed (5)         coming (1)        contact (1)          95:3
          calls (1)        12:6 18:25          88:13             9:16               counsel (1)
          9:3                30:3 76:16        COMMISSI...       continue (1)       59:12
          caption (2)        84:6              95:25             28:12              counterperso...
          62:10,11         changes (1)         common (1)        continued (2)      67:21
          Care (1)         95:3                16:22             39:2 92:25         County (7)
          47:6             changing (1)        company (1)       contracts (1)      37:15,18 38:2
          case (17)        77:23               8:21              32:18                38:5,11,14,19
          1:7 28:24        character (8)       compensatio...    conversation...    course (1)
            35:23 36:12    72:12,21,22,24      32:15             27:5 81:14         66:5
            45:4 54:7        73:3,18,24        complaint (4)       83:12,15 88:5    court (25)
            57:20 59:10      74:8              27:3 28:24          88:6             1:2 4:19 35:24
            59:13,21,24    cheese (1)            45:4 63:9       conversation...      36:20,23 37:3
            61:25 62:3,5   77:5                completely (1)    13:12,15 32:5        49:9,12,17,20


                                  Lexitas Court Reporting
                                        800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 27 of 40 PageID #: 229

                                                                            June 3, 2022
                                                                                [Page 98]

            57:24 58:3,1425:12,19          deposes (1)        65:19              57:9 90:6
            58:14 62:4,5 De (4)            95:1               District (13)     doing (13)
            62:6,13,16,211:5 26:5 27:11    deposition (9)     1:2,3 57:24,25    8:24 20:19
            62:23,25 63:2 27:18            1:18 3:7,8,11        58:13 61:22      22:13 26:25
            63:15 88:24  decided (1)         5:12 14:7          61:23 62:4,6     42:24 43:2,11
          created (1)    87:21               38:25 54:21        62:7,13,13,25    43:14 66:21
          71:9           decision (1)        90:11            divorce (1)        72:10 74:2
          credit (2)     84:12             describing (1)     5:15               76:14 88:17
          38:20,21       decisions (1)     81:18              document (85)     dollars (2)
          crossed (1)    72:17             DESCRIPTI...       39:4,8,12,16      38:17,20
          4:21           decor (2)         92:10 93:6           39:20,25 40:4   doors (1)
          currently (2)  8:20 24:5         design (1)           44:25 45:14     87:21
          6:22 11:3      defendant (3)     24:12                45:23 46:3,7    Drive (2)
          customer (2)   1:18 51:25        designated (1)       46:11,12        4:12 47:7
          10:15,16        55:5             47:2                 47:11,16,21     driver (2)
          customers (18) defendants (4)    determinatio...      47:24 48:14     15:18,21
          18:6,7,16,19   1:10 64:10,13     73:17                49:5 51:6,17    driver's (1)
            19:14,17,19   64:16            determine (2)        52:13 54:7,12   53:15
            19:21,25 20:2defending (1)     72:14 73:24          55:2,8,11,15    drivers (1)
            20:3,4,16    88:17             difference (1)       56:3,24 57:18   91:10
            21:2,12,21,25define (4)        73:7                 58:5 60:2,12    duly (3)
            24:17        9:2 10:6 22:17    different (6)        60:14,16,18     4:4 94:10 95:1
                          75:2             8:7 15:2 29:11       63:20 64:3,6    duties (1)
                 D       definition (3)      30:4 34:18         64:19 65:4,18   55:3
          D (7)          10:7,8,9            41:16              66:10,11
          3:2 48:24      definitions (1)   difficult (1)        69:10,14,19           E
           53:24 92:2    48:24             42:10                69:24 76:13     E (17)
           93:2,2,4      deli (1)          difficulties (5)     78:17,21,25     2:2,2,15,15 3:2
          date (25)      69:8              18:10,18,23          79:6,9,13         3:2 4:2,2,13
          39:7,11,15,19 deliveries (1)       19:6,13            81:7,12 82:21     92:2,8 93:2,2
           39:23 40:3,7  15:19             dining (1)           85:12 90:2,4      93:4,4 94:2,2
           51:8 54:19    delivery (1)      41:4                 92:11,12,13     e-mail (8)
           58:8 63:23    91:11             dinner (1)           92:14,15,16     70:25 71:3,4,6
           64:23 65:21   demands (1)       76:23                92:17,18,19       71:9 74:17,20
           65:23 66:13   56:15             direct (3)           92:20,21,23       74:22
           69:13,17,21   Department ...    40:19,21 90:25       93:7,8,9,10     e-mailing (1)
           78:20,24 79:4 65:6,11 67:6      directing (1)        93:11,12,13     74:14
           79:8,12,16     68:8             90:14                93:14,17,19     earnings (1)
           82:6          depend (1)        directors (1)      documents (...    33:6
          dates (1)      37:20             55:4               36:20,22 44:8     East (2)
          55:6           depended (1)      discovery (3)        48:2,3,22       2:5 4:13
          day (2)        23:11             48:23 53:19          49:13,14,15     Eastern (5)
          91:21 95:24    depends (2)         56:14              51:24 52:6      1:3 57:24
          day-to-day (2) 34:5 37:19        discussed (1)        53:18 54:4,14     61:22 62:7,13


                                Lexitas Court Reporting
                                      800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 28 of 40 PageID #: 230

                                                                               June 3, 2022
                                                                                   [Page 99]

          eating (1)        86:20               63:21,25           81:21 84:8        56:11,21
          76:20             entity (1)          64:21,25        facts (1)            65:12 66:12
          effect (1)        19:2                69:11,15,20      14:5                75:25
          3:10              Erica (2)           69:23 70:12     fair (11)          fit (5)
          eight-page (4)    82:13 83:7          71:11 75:7       4:25 29:14,19      67:4,8,16
          69:18 79:5        ERRATA (1)          78:18,22 79:2      29:20 35:13       68:10,19
            93:8,12         95:1                79:7,10,14,18      41:25 61:16     five (4)
          either (3)        especially (3)      80:2 81:24         71:20 87:25      38:20 43:13
          28:9,12 70:4      18:9 30:2           83:4 84:21         88:3,9            48:24 53:25
          else's (1)          42:10             85:2 87:4,5     familiar (2)       five-page (4)
          10:9              ESQ (1)           Exhibits (1)       11:9 57:20         39:8 63:20
          Emanuel (4)       2:7               60:21             federal (7)          92:12,20
          1:5 26:5 27:11    established (2)   experience (1)     36:2 52:25        Flanders (1)
            27:18           74:16 76:15       73:12                62:8,20,23       47:7
          employed (2)      evaluate (1)      experimenti...       63:2 89:15      flour (1)
          6:22,24           74:7              77:22             fewer (1)           16:7
          employee (4)      eventually (1)    expertise (1)      20:17             FMTC (1)
          29:3 40:20,22     59:9              91:13             fifth (2)           65:13
            42:9            evidence (1)      EXPIRES (1)        46:20,25          follow (1)
          employees (32)    89:21             95:25             file (12)           61:7
          14:12 16:22       evident (1)       explain (3)        2:8 36:20,22      following (1)
            24:25 25:4      65:3              60:20,24 90:7        41:10 50:13      95:2
            37:8,11 38:14   exactly (2)       expose (1)           50:21,23,25     follows (1)
            38:19 40:11     12:18 19:11       88:24                51:2 65:20,23    4:5
            40:16 41:2,12   examination ...   exposed (1)          66:7            food (22)
            41:21 42:7,17   4:15 92:3 94:9    89:9              filed (4)           16:6,8,18 24:4
            42:22 43:7,18     94:10                              58:12 61:19,21      27:10 50:2,12
            43:24 44:6      examined (1)              F            62:8              50:20,24
            49:16 70:21     4:4               F (2)             filing (1)           65:19,22 66:6
            72:25 73:4      execute (1)        3:2 94:2          3:6                 66:19,24 67:3
            86:24 87:25     30:5              face (1)          filled (1)           67:8,14,16,22
            88:3,9,21       executive (2)      65:3              72:3                68:9,18 69:5
            89:5 91:2,8     83:20 84:9        Facebook (14)     find (2)           force (1)
          employers (1)     exhibit (53)       33:4 70:4,6,10    68:13 90:22        3:10
          86:18             39:5,9,13,17        70:11,14,18     fine (1)           form (1)
          employment ...      39:21 40:2,5      70:23 74:11      9:4                3:14
          6:21                44:20 45:11       75:12,13        fire (1)           format (2)
          English (1)         45:11 48:10       76:10 77:9       25:3               34:24 60:22
          26:15               51:4,7,10,11      89:23           firing (2)         formation (1)
          enter (1)           52:16,16,19     fact (10)          25:6 37:6          22:16
          32:18               55:19 57:7,8     53:20 54:19      FIRM (2)           forth (1)
          entitled (1)        57:11,12 58:6     58:15,21         2:3,16             94:9
          86:21               58:10 59:19       68:17 74:14     first (8)          forward (1)
          entitles (1)        60:11 62:12       76:5 80:22       4:4 12:7 44:24     55:13


                                  Lexitas Court Reporting
                                        800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 29 of 40 PageID #: 231

                                                                           June 3, 2022
                                                                               [Page 100]

          four-page (2)     girlfriend (1)    Grimaldi's (3) Happy (2)         hired (4)
           39:12 92:13      27:10             9:11,16 10:21  78:2,13           29:16 71:22
          fourth (1)        give (18)         guess (8)      hard (1)            73:25 87:9
           76:25            14:25 15:12       20:15 41:24    20:3              hiring (6)
          Franco (1)          16:15 22:4,23    42:19,20 50:9 health (5)        25:6 37:5
           36:13              23:9 24:8,11     50:11 82:4    50:3 65:7,12        70:16 72:10
          friend (2)          42:16,21         90:22           67:6 68:8         72:17,19
           33:14,15           43:23 44:2,6    guessing (8)   healthy (1)       history (1)
          fully (2)           51:14 74:5      20:19 42:5,25  67:4              6:21
           5:7 46:2           88:14,25 91:8    43:3,11,14    heck (1)          hold (2)
          further (3)       given (4)          74:2,4        26:25             68:14,23
           3:13 91:15       6:17 33:19        guy (10)       Heinlein (5)      holds (1)
            94:13             45:15 94:11     25:14,21,22,23 83:21 84:2,9      68:11
                            gives (1)          26:25 84:14     84:15 87:10     holidays (2)
                 G          88:11              84:16 87:9,12 held (3)          78:3,13
          G (1)             go (18)            90:20         1:20 55:7 58:3    Hollow (1)
          93:22             6:20 26:2 27:9    guys (1)       help (14)         1:12
          game (6)            29:10 37:2      91:11          8:15,19 9:4       Home (1)
          20:19 42:5,25       40:9 44:16                       15:15,21        4:12
            43:3,11 74:2      54:9 56:10             H         22:18 33:12     honest (1)
          Gammella (2...      57:2 69:5,6     H (3)            33:13 68:15     63:15
          1:9 4:24 7:18       80:2 83:4       4:2 92:8 93:4    70:21 80:14     Honor (1)
            7:19 11:23        87:5 88:5,23    H-E-I-N-L-E...   87:20 90:17     52:19
            13:16,25 14:4     89:19           83:21            90:20           hour (4)
            23:5 25:10      goes (1)          Habanero (6)   helped (12)       14:24 38:17
            28:9 31:14,18   66:12             9:22,23 10:2,5 8:12,16 10:25       81:19 91:3
            32:6 40:16      going (25)         10:11,18        14:16,17,18     hours (3)
            47:6,15 48:15   5:3 6:20 14:8     half (2)         15:2,5,13       14:24 88:19
            56:12,18          44:19 46:23     77:24,25         70:22 81:18       89:5
            59:20 61:4        48:9,19 51:3    hand (4)         90:18           human (1)
            72:18 83:20       51:10 55:18     53:11 88:12,15 helping (6)       68:19
            84:17 85:16       56:5 58:9        88:22         40:25 41:3,4      hundred (13)
            85:23 89:4        59:18 63:18     handing (12)     41:18 87:15     15:6,11 20:17
          Gammella's ...      63:24 64:24     44:22 48:11      90:14             20:22,22
          55:19,24 64:5       67:13 69:22      51:11 58:12   hereinbefore...     41:22,23 42:2
          general (8)         75:6,11 79:17    59:21 60:12   94:9                42:3,23 43:5
          80:6,10 81:16       84:25 86:12      69:25 75:8    Hernandez (4)       43:6 74:3
            81:17,22          87:3 91:4        79:20 81:25   1:5 25:25 30:7    Huntington (1)
            82:17,21        good (5)           83:5 85:3       30:17           2:6
            83:14           4:17 33:15        handles (1)    Hernandez's...
          generally (2)       50:16,24        37:5           31:3                      I
          32:10 43:20         75:11           happens (5)    hire (3)          ID (2)
          getting (1)       Grace (3)         48:4,6 54:17   24:24 84:16        92:10 93:6
          33:8              1:21 94:4,19       68:24 69:2      87:18           identical (1)


                                  Lexitas Court Reporting
                                        800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 30 of 40 PageID #: 232

                                                                                   June 3, 2022
                                                                                    [Page 101]

            60:21              57:4 67:15,23     1:5 26:5 27:11    18:20 20:12      law (6)
          identificatio...     67:25 80:3         27:18            20:23,24          2:3,16 4:25
           39:6,10,14,18     individually ...   Joanne (1)         21:20 25:24        35:14 88:11
            39:22 40:2,6      8:22,23            79:20             26:4,7 27:22       88:14
            48:10 51:7       individuals (8)    job (6)            27:25 28:4       lawful (1)
            58:7,10 60:11     4:23 17:9 21:4     7:4 22:13 27:6    29:12,16,22       37:17
            63:22 64:22        29:15,21           71:21 73:9,21    29:24 30:3,7     laws (1)
            65:2 69:12,16      31:24 57:5,5     jobs (1)           30:11,14,17       86:23
            69:20,24         influencers (1)     41:13             30:20,23         lawsuit (20)
            78:19,23 79:3     76:24             JOHN (1)           32:10 34:15       28:9,13,16,21
            79:7,11,15       information ...     2:7               34:21,24 35:3      29:7 31:15,18
          identified (2)      13:9,24 53:11     joint (1)          35:25 36:14        32:6 36:3,6,9
           12:9 68:2         Initially (1)       17:19             36:16 38:9,12      36:19 37:3
          identifies (3)      36:13             judge (14)         38:13 40:11        48:7 49:5
           45:24 67:14,22    input (1)           52:23,25 53:17    40:13,14           58:12,16,22
          identifying (1)     24:6                53:20 54:20      41:20 42:3         59:2 87:17
           52:11             inspection (4)       59:20,24 63:5    46:3 47:19       lawsuits (1)
          identities (2)      50:20 65:21         72:21,22,24      51:13 54:18       89:9
           18:25 76:16         66:12,18           73:3 89:16       54:19 55:21      lawyer (5)
          identity (5)       inspections (4)      90:5             58:2,14 59:25     46:14 52:9
           6:9,12 12:6,7      50:3,3 65:7       judgment (1)       61:7,24 65:17      54:23 59:14
            30:3               66:15             72:12             66:17 70:22        87:18
          incident (1)       Instagram (3)      June (1)           72:2 73:6,7      lawyers (3)
           6:12               33:4 70:5,23       1:13              77:15,16,22       57:6 58:24
          include (1)        instance (3)                          79:19,21 80:2      59:4
           57:13              23:20 43:16,19           K           86:11 88:13      leave (3)
          included (1)       interest (1)       keep (3)           88:17,25,25       54:25 61:4
           53:24              8:8               77:23 89:4,8       90:24 91:12        88:19
          incorporatio...    interested (1)     keeps (1)         knowing (1)       left (2)
           45:12              94:16             65:7              18:19              87:13,19
          incorrect (1)      interrogatori...   kind (1)          knowledge (6)     legal (4)
           85:13              48:25             72:3              6:14 13:16         37:25 38:4,6
          independent ...    interview (3)      kitchen (5)        31:2,6,10          38:10
           54:11              73:9,21 83:10     83:22 84:3         73:15            legally (2)
          Index (1)          involved (1)         87:10,15        known (3)          89:22 90:16
           92:25              34:25               90:19           5:18,21 6:3       Let's (3)
          indicate (1)       Islip (2)          knew (3)                             80:2 81:24
           28:11              62:9,20           14:5 22:13              L             83:4
          indicating (1)     items (6)            25:21           L (5)             letter (8)
           46:16              16:5,6,8,10,11    know (79)         2:15 3:2,2 4:2     49:18,21,23
          individual (12)      16:18            4:22 5:5 9:12      93:22              57:11,12
           17:6,14 25:24                          10:9 11:18      Labor (4)           59:20 61:5,18
            26:4 27:25              J             12:13,18,23     4:25 5:2 35:13    letters (1)
            35:21 53:9       Jesus (4)            13:9,24 17:9     35:14             59:23


                                    Lexitas Court Reporting
                                          800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 31 of 40 PageID #: 233

                                                                           June 3, 2022
                                                                               [Page 102]

          license (1)        look (11)         75:4            63:18 69:9       73:2 74:18,21
           53:15              44:21 48:12,18   maintained (1)  78:16            80:14 83:19
          Lievano (6)          62:11 66:2,9    65:11          marked (35)       83:25 84:13
           1:5 26:5 27:11      74:10 75:7      making (8)     39:5,9,13,17      84:16,22
             27:18 30:11       76:25 78:12     48:7 67:3,7,15  39:21,25 40:5    85:16,23 87:9
             30:20             83:17            68:9,18 76:21  44:20 48:10      87:11,15
          Lievano's (1)      Looked (1)         90:15          51:4,6,9         90:14
           31:7               53:15            manage (4)      55:18 58:6,9    Massimo's (5)
          Limited (12)       looking (3)       7:22 8:6 27:23  59:19 60:10     46:15 57:12
           11:10,12,19,25     27:6 71:11,22     70:22          63:21,25         68:11 72:9
             13:6,10,17,20   looks (1)         managed (4)     64:20,25         84:12
             14:9 48:20       70:4             8:4 21:5 25:12  69:11,15,19     matter (7)
             56:13 76:13     lost (1)           25:19          69:23 75:7      44:10,12,17
          limiting (1)        87:23            management...   78:18,22 79:2    45:18 63:9
           57:10             lot (2)           89:13           79:6,10,14,18    68:22 94:16
          line (2)            48:7 87:23       manager (45)    85:2 87:4       mean (15)
           78:2 95:5         lots (1)          10:2,5,6,8,8,9 marriage (1)     8:6 14:9 18:22
          listed (2)          77:6              10:11,14,18   94:15             25:9 28:17
           81:11 84:21       lower (2)          17:20 18:2,5 Massimo (86)       29:17 40:21
          listen (2)          65:14 66:2        18:8,12,16    1:9 4:24 7:18     55:22 68:21
           26:13 42:13       Luke (3)           19:9,15,20     11:23 13:16      68:23 69:3,6
          literally (1)       80:3,4 85:22      20:5,18 21:3   13:25 14:3,16    75:4 76:8
           90:19             lying (1)          21:12,16 22:2  18:9,17,23       77:14
          live (1)            86:3              22:8,11 24:18  19:5,12 22:12   meant (1)
           19:22                                35:9 66:17     22:18 23:5,21   57:14
          lived (2)                M            67:18 68:13    25:8,8,9,9,14   media (3)
           84:23 87:8        M (1)              69:3,5 70:8    25:16,20        33:2,3 76:24
          Ln (3)             4:2                74:23 80:6,10  26:12,18,24     meet (1)
           92:10 93:6,18     machine (1)        81:16,17,22    27:2 28:17,20   73:23
          loan (1)           73:8               82:17,21       28:22 30:5      meets (1)
           16:12             mad (4)            83:14 90:3,11  33:12,13,13     88:12
          located (3)        86:14,17 87:6     managers (1)    33:20 36:7      Melville (1)
           11:14,20 13:21     87:24            37:21           37:7,10,13      1:12
          location (10)      Magistrate (1)    manages (1)     40:16 42:12     member (7)
           22:24 23:2,9      52:22             37:11           42:13,17,21     33:25 34:6,9
             23:17,23        mail (3)          managing (3)    43:6,17,23       34:12 55:4
             67:11,12,12     47:5 61:18        18:20 21:22     45:16,21 47:6    80:5,9
             76:11 80:18      75:2              90:12          47:15 54:5      members (2)
          Locke (5)          mailed (2)        manner (1)      55:12,14,16     34:18 35:9
           52:23 53:17,21    61:19,20          27:2            56:12,23 60:7   memory (2)
             54:20 90:5      Main (4)          Marcus (2)      60:9 61:24      58:11 62:2
          long (5)           2:5 11:15,20      82:13 83:8      68:12,13,15     mentioned (4)
           7:6 8:24 37:14     13:21            mark (5)        70:20 71:5,10   10:20 13:22
             64:20 92:22     mainstreet (1)    39:3 58:4       72:2,4,5,9       23:7 65:13


                                   Lexitas Court Reporting
                                         800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 32 of 40 PageID #: 234

                                                                           June 3, 2022
                                                                               [Page 103]

          mentions (1)      58:1 59:1        85:11            66:10 68:12      niche (1)
          66:3              60:1 61:1        Monday (1)       74:12 75:2       72:15
          menu (4)          62:1 63:1        87:12            79:19 80:3       notarized (2)
          24:6,9 30:6       64:1 65:1        money (1)       names (9)         53:3,9
           87:10            66:1 67:1        87:23           5:21 6:3 7:17     Notary (4)
          menus (1)         68:1 69:1        month (2)        12:5 13:7,23     1:22 91:25
          8:19              70:1 71:1        26:9,11          29:11 55:3         94:5 95:25
          met (4)           72:1 73:1        months (3)       61:3             noted (1)
          4:18,19 73:19     74:1 75:1        84:24 87:9,14   Nassau (7)        91:16
           74:6             76:1 77:1        morning (1)     37:15,18 38:2     Nuccio (3)
          Michael (12)      78:1 79:1        4:17             38:5,11,14,19    1:22 94:4,19
          1:9,19 5:23,24    80:1 81:1        Moser (33)      nature (1)        number (9)
           6:2 65:14        82:1 83:1        2:3,7,16 4:16   81:13             34:21,23 35:3
           76:3 82:21       84:1 85:1         4:18 20:15,20  NAVARRO-...         35:6 55:2
           83:19,21 84:9    86:1 87:1         22:6 38:22     2:17                71:15,18 72:8
           85:15            88:1 89:1         39:3 40:8      necessarily (2)     80:16
          Michele (98)      90:1 91:1,18      41:8 42:4,24   29:23 50:19       numbers (2)
          1:8,19 4:1,9      94:8 95:1,1       43:15 48:7,22  necessary (3)     14:23 32:9
           5:1,19 6:1,2    Miguel (6)         51:3 52:4      5:7 73:10 95:3
           7:1 8:1 9:1     1:5 28:2,4,8,11    54:23 58:4     need (3)                  O
           10:1 11:1        28:25             62:23 63:18    21:10 51:16       O (5)
           12:1 13:1       Mike (2)           69:9 74:4       70:20            2:15 3:2 4:2
           14:1 15:1       84:15 87:9         75:4 78:16     needed (5)          93:2,4
           16:1 17:1       mine (3)           85:10 87:14    14:19 15:18,19    oath (2)
           18:1 19:1       61:14 70:7         89:23 91:3,14   16:7 68:12       3:9 89:15
           20:1 21:1        71:17             92:4           needs (1)         objections (1)
           22:1 23:1       minimum (2)       Moser's (2)     72:3              3:14
           24:1 25:1       38:13,18          53:18 56:13     negotiates (1)    obtain (1)
           26:1 27:1       mistake (3)                       37:8              66:19
           28:1 29:1       51:20 52:5,10            N        negotiating (4)   Obviously (1)
           30:1 31:1       Mm-hmm (11)       N (11)          58:19 59:3,4,7    25:18
           32:1 33:1       7:11 14:2         2:2,15 3:2 4:2 never (2)          occasions (7)
           34:1 35:1        46:22 56:17       92:2 93:2,2,2 24:23 89:20        16:18 20:8
           36:1 37:1        65:16 66:5        93:4,4,22      new (20)            21:3 34:4
           38:1 39:1        70:7 71:19       name (31)       1:3,12,22 2:6       41:16 50:6
           40:1 41:1        73:13 77:7       4:7,17 5:18 7:2  4:13,25 30:6       89:15
           42:1 43:1        82:2              9:9,17,19       35:14 47:7       October (3)
           44:1 45:1,9     mm@rossou...       14:9 17:13      57:25 61:23      65:22 87:16,22
           46:1 47:1       70:25 74:15        25:24 26:2,4    62:7,13 65:6     offer (1)
           48:1 49:1       mm@rossou...       27:4,25 28:25   65:11 68:7       9:3
           50:1 51:1       74:17              35:20 45:21     79:24 87:10      office (6)
           52:1 53:1       mm@whate...        46:9,15 53:7    87:11 94:5       41:9 58:20
           54:1 55:1       75:3               55:21 57:21    Newsday (2)         59:5,7 61:2,2
           56:1 57:1       moment (1)         65:13,17 66:3 82:11,14           officer (2)


                                 Lexitas Court Reporting
                                       800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 33 of 40 PageID #: 235

                                                                            June 3, 2022
                                                                                [Page 104]

            3:9,11          outcome (1)       75:20 76:10     72:4              28:17,18 73:19
          Oh (2)            94:16             76:25 77:9      pay (7)             73:24 79:21
          70:10 82:8        owned (8)         83:17 89:23     16:9 37:17,23     perusing (15)
          okay (9)          11:6,21 40:11     92:3,25 95:5     37:25 38:4,10    44:23 48:13
          5:9,10 21:14       48:6 52:8       pages (3)         89:2               51:12,18
            21:19 44:23      54:3 57:4       64:20 77:24      payroll (4)         58:13 59:22
            48:12 56:21      90:16            92:22           56:24 57:8,13       60:13 65:5
            77:3 88:4       owner (17)       paid (4)          57:15              70:2 75:9
          once (3)          7:5,6 17:16,19   30:18,21,24      people (13)         79:21 82:2
          4:19 5:13 50:8     48:4,16 54:8     33:8            18:12 19:8          83:6 85:4,14
          one-page (8)       54:15 57:18     pandemic (1)      22:7,10,13       Pg (3)
          39:16 40:4         69:6,8 89:20    27:17             29:10 34:24      92:10 93:6,18
            69:10,14         90:3,18,21,25   paper (2)         71:21 72:23      phone (4)
            92:14,17,23      91:6            47:14 57:17       73:24 74:6,14    71:15,18 72:8
            93:7            owner's (1)      papers (3)        80:15              80:17
          ongoing (1)       9:17             48:5 54:2 57:3   Pepe (46)         phonetic (3)
          14:20             owners (9)       paragraph (3)    7:3,4,7,9,10,12   9:18 52:11
          online (1)        44:9,13 45:17    48:19 53:17       7:20,23 8:2,5      73:8
          44:16              45:25 46:5,8     86:13            8:9 11:4,7       physical (1)
          open (2)           46:13 47:11     paragraphs (3)    16:4,9,10,16     80:18
          25:17 84:24        47:24           52:11 53:24       16:19,21,25      physically (1)
          opened (3)        ownership (3)     54:25            17:7,10 19:21    60:4
          12:13 19:5        8:8 11:3 50:22   Paralegal (1)     20:2,5,16        picture (2)
            87:11           owning (1)       2:17              21:8,11,15,21    26:3 77:2
          opens (1)         90:16            pardon (3)        26:8,11 27:7     pictures (1)
          86:13             owns (2)         22:9 33:24        27:9,12,14       89:23
          operating (1)     66:16 69:2        49:19            28:6 37:6,9      pie (1)
          37:14                              parmesan (1)      37:11 40:11      77:25
          operation (4)           P          77:6              40:16 57:21      pinpoint (2)
          7:14 89:14,17     P (4)            part (2)          68:11 83:25      19:10 20:9
            90:8            2:2,2,15 3:2     18:20 23:8        86:8             Piscina (1)
          operations (2)    P.C (2)          particular (6)   pepperoni (1)     9:18
          25:12,19          2:3,16           14:5 29:6 37:2   77:24             pitch (1)
          opinion (2)       P.M (1)           67:25 83:8,15   percentage (1)    15:18
          86:23 88:7        91:16            parties (2)      33:5              pitching (1)
          Order (1)         page (30)        3:5 94:14        period (1)        15:20
          1:20              44:24 45:6       partner (5)      55:6              pizza (2)
          original (2)        46:18 48:18    11:21,22 13:11   permission (3)    77:2 90:15
          45:3 52:15          64:2 65:13      13:25 83:24     6:17 33:19        pizzeria (3)
          Osteria (13)        66:2,9,10      partners (7)      72:5             9:7,9 10:20
          12:20,20,22,24      70:4,6,10,11   7:15,17,20       personal (4)      place (2)
            13:6,23 75:16     70:14,19,23     83:19,25        31:2,6 70:11      1:21 90:13
            75:22 76:4,7      74:11 75:12     84:17,22         70:13            Plaintiff (1)
            76:12,14,17       75:13,15,17    pass (1)         personally (5)    1:20


                                   Lexitas Court Reporting
                                         800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 34 of 40 PageID #: 236

                                                                              June 3, 2022
                                                                                  [Page 105]

          Plaintiff's (42)   45:13             printer (1)        49:5 53:17      quoted (1)
          39:5,9,13,17       possible (1)      60:25              54:2            85:20
            39:21,25 40:5    55:13             printout (2)      public (14)
            44:20 48:10      possibly (3)      65:10 70:13       1:22 44:10,12          R
            51:6,9,11        51:12,13 86:7     prints (1)         44:17 45:18   R (5)
            52:16,18         post (5)          82:20              50:3 57:2     2:2,15 3:2
            55:19 57:11      67:13 69:5,7      pro (5)            67:4,8,16       93:22 94:2
            58:6,10 59:19     75:25 76:5       1:18 4:3 64:9      68:10 91:25   raise (1)
            60:11,20         posted (1)         95:1,1            94:5 95:25    53:10
            62:12 63:21      76:23             probably (9)      publicly (1)   rarely (1)
            63:25 64:21      posting (4)       12:15 19:23,24    34:24          16:20
            64:25 69:11      70:13 71:21        40:12 46:2       publish (1)    re-boot (2)
            69:15,19,23       74:11 77:4        73:2,19 76:10    34:23          83:21 84:3
            70:12 71:11      postings (1)       76:22            Published (1)  re-branding ...
            78:18,22 79:2    76:19             proceeding (1)    82:11          85:15
            79:6,10,14,18    posts (2)         95:2              purchasing (1) reach (1)
            81:24 85:2       76:2,21           process (2)       16:15          86:19
            87:4             potential (2)     47:3,5            purpose (2)    read (4)
          Plaintiffs (2)     72:24 73:4        produce (9)       22:7,10        46:23 48:19
          1:6 2:4            premises (2)      47:18 48:2,3      purposes (1)     56:5 85:11
          playing (1)        66:18 76:8         54:16,17 55:8    14:7           reality (1)
          42:4               preparation ...    56:14,24         pursuant (1)   68:25
          please (6)         50:12              57:17            1:20           really (2)
          4:7,10 46:12       prepared (1)      produced (3)      put (5)        57:14 87:19
            55:10 85:12      60:2              54:7,14,19        70:18 71:20    reason (8)
            90:7             preparing (1)     PRODUCTI...        72:8 77:4     19:14 29:6,9
          PLF'S (2)          66:24             93:17              84:13           81:5 86:9
          92:9 93:5          present (2)       promotional ...                    88:25 89:12
          pocket (1)         50:2 66:14        32:21,24                 Q         95:5
          86:20              presented (3)     proper (2)        qualified (2)  recall (18)
          point (3)          28:23 52:10       89:4,8            72:13,16       6:11 14:21
          46:12 58:16         54:24            properly (4)      question (20)    17:13 21:24
            86:12            president (1)     41:5,7,13,15      5:4,6,8 14:3     23:15,20 32:5
          pointed (1)        56:12             proprietor (9)     18:15 21:9,11   32:12 35:20
          53:22              press (9)         45:22 47:15        21:15 23:25     36:21,25
          pointing (5)       33:22 34:2,6,9     48:6 51:25        31:19,20 38:3   43:17,20 44:5
          46:17 51:19         34:12,19 35:9     52:8,14 54:3      43:2,8,10       81:2 83:7
            52:5,12 62:11     80:6,10           56:12,25          49:7 52:15      85:8,10
          Port (3)           pretend (1)       protect (2)        56:8,9 88:5   receive (1)
          4:13 11:15         6:18              86:18,24          questions (5)  32:15
            13:21            pretended (1)     prove (1)         5:3 44:22 73:5 recess (1)
          position (1)       6:15              56:25              88:18 91:15   38:24
          72:3               printed (3)       provide (6)       quote (1)      recipe (1)
          possession (1)     60:8,18 81:6      47:17 48:5,21     86:14          73:8


                                   Lexitas Court Reporting
                                         800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 35 of 40 PageID #: 237

                                                                                 June 3, 2022
                                                                                     [Page 106]

          recipes (1)       78:14              66:21                86:25 90:3        16:25,25 17:6
          8:19              refresh (2)        represented ...    restaurant's ...    17:7,10,11,16
          recognize (4)     58:11 62:2         36:3,11 58:18      7:13 70:8           17:20,22 18:2
          32:4 60:12        regarding (3)        59:6,12          restaurants (8)     18:5,8,13,16
            69:24 83:5      13:16 31:3,7       request (3)        7:22,25 8:4,17      18:24 19:5,9
          recognized (1)    Regular (1)        55:2 56:14           9:5 19:25         19:15,20,21
          40:15             16:6                 83:18              37:15 65:8        19:21 20:5,6
          recommende...     reincarnatio...    requests (2)       results (1)         20:16,18 21:2
          84:15             87:8               53:19 93:17        87:20               21:3,4,5,7,8
          record (13)       relate (1)         requests/inst...   review (2)          21:11,13,15
          4:8,11 26:10      18:11              48:23              51:17 82:10         21:16,21,23
            44:10,12,15     related (4)        reserved (1)       reviewed (1)        21:25 22:2,8
            44:17 45:19     56:15,24 57:8      3:14               95:2                22:11,16 23:5
            46:24 52:7        94:14            resign (1)         right (12)          23:10,21
            56:6 57:15      relationship ...   58:17              41:11 46:15         24:15,19,22
            94:11           8:20               resolution (1)       49:11 52:2,12     24:24 25:3,7
          recorded (1)      relevant (1)       59:10                53:10,23 56:9     25:13,17,20
          26:23             55:5               resolved (1)         71:5 88:11,16     26:8,11 27:7
          recording (2)     remember (10)      59:13                91:4              27:9,12,15,19
          26:13,15          9:13,14 26:17      respective (1)     right-hand (2)      27:21 28:7
          records (17)        27:16 35:25      3:5                65:14 66:3          29:15,21 30:8
          24:15 48:22         51:14 59:25      response (3)       Road (1)            30:12,15,18
            49:16 53:18       61:12 81:13      51:10 52:16        1:12                30:21,24 31:4
            55:2 56:14,19     83:16              55:17            Rockville (2)       31:8,11,24
            56:21,22,23     repeat (1)         responses (2)      9:8,20              32:16,19,22
            57:2,13,14      5:6                49:5 57:10         role (2)            32:25 33:6,9
            65:7,10 89:4    repeating (3)      responsible (5)    22:15,17            33:17,20,23
            89:9            23:24 43:8,9       67:3,7,15 68:9     room (2)            34:2,13,16,19
          recruiting (1)    rephrase (5)         68:17            41:4 78:8           34:25 35:10
          70:21             13:18 18:14        restaurant (3...   Rosso (217)         36:8 37:6,9
          refer (1)           23:6 49:8        6:25 7:2 8:13      1:8 4:24 7:3,4      37:12 40:10
          7:9                 85:21              8:15 9:8,18        7:7,9,10,12       40:11,16,17
          reference (2)     replace (1)          9:19 11:13,14      7:20,23 8:2,5     40:20,23
          47:10 56:13       16:11                11:19 15:24        8:9 11:4,7,10     41:13,21 42:7
          referred (3)      reporter (6)         16:2 18:21         11:12,16,18       42:9,18,22
          27:2 56:22        4:6 80:22 81:3       19:2,6,13          11:25 12:2,5      43:7,18,24
            71:25             81:21 84:20        30:2 38:14         12:8,9,16,21      44:9,13 45:18
          referring (12)      85:5               50:18,21           13:5,6,10,17      46:5,8,13
          47:8 48:15        reporters (1)        66:20 69:4         13:20,23 14:8     47:12,15 48:5
            49:15 56:23     85:8                 74:24 76:20        14:9,13,15,22     48:16,20
            76:13,18        represent (5)        77:12,16,17        15:3,13,15,22     49:16 50:3,13
            77:11,13 78:7   4:23 58:15,21        77:21 80:19        16:4,9,9,9,10     52:7 54:2,8
            78:9 83:18,24     58:25 68:7         84:24 85:15        16:14,16,19       54:15 56:13
          refers (1)        representati...      85:16 86:24        16:19,21,21       57:21 65:12


                                   Lexitas Court Reporting
                                         800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 36 of 40 PageID #: 238

                                                                            June 3, 2022
                                                                                [Page 107]

            66:7 67:8       56:11 58:13     September (1)     showing (1)       33:2,3 76:24
            68:4,5,10,11    62:12 64:8      80:23             48:3              Soldano (2)
            68:18 71:21     65:13,21        serious (2)       shows (12)        75:21 76:4
            72:17 73:25     70:16 74:12     31:19,20          44:13,18 46:4     sole (9)
            74:7,20 76:8    75:15 76:7      served (7)          47:11,14 48:5   45:22 47:14
            76:13,15,18     78:2,13 82:21   47:3,6 67:8,16      48:15 52:13       48:6 51:25
            77:13 78:9,14   83:18 85:14       68:9,18 87:17     54:7 57:3,18      52:8,13 54:3
            80:6,10,16,23   86:14 90:4      set (2)             66:13             56:12,25
            81:16,22        95:2            73:7 94:9         sic (4)           somebody (6)
            82:17 83:18   schedule (3)      seven-page (2)    48:22 54:25       9:3 41:9 53:3
            83:25 84:6,9  31:3,7,11         51:5 92:18          61:22 71:13       61:21 68:12
            84:18,22 86:8 se (6)            share (3)         sign (4)            88:23
            89:17 91:2    1:18 4:3 64:9     16:21 19:25       33:16 49:2        soon (1)
          Rosso's (1)       75:3 95:1,1       60:25             64:12,15        55:13
          20:2            sealing (1)       shared (2)        signatory (1)     Spanish (4)
          rude (1)        3:6               74:17,21          24:21             26:16,17,18,20
          27:2            search (1)        shareholders...   signature (12)    speak (12)
          run (2)         44:17             47:19,21          45:8 53:3,6,10    26:18,20 31:17
          8:12,15         second (8)        shares (1)          55:20,22,24       33:20,22,25
                          46:17 48:19       17:22               56:2 64:2,5,8     34:19 55:12
                  S         53:16 75:15     SHEET (1)           95:23             80:22 82:13
          S (8)             75:17,20 78:2   95:1              signed (2)          85:2,5
          2:2,15,15 3:2,2   83:17           SHIRLEY (1)       3:8,10            speaking (5)
            92:8 93:4,22 Secretary (4)      2:17              signing (1)       11:23 51:23
          s/h/a (2)       45:21 46:25       short (3)         64:9                52:4 58:23
          1:8,19            47:4 57:3       15:17,24 16:6     simultaneous...     83:7
          sad (1)         see (17)          short-lived (1)   17:2,5            specific (8)
          86:14           28:24 45:17       84:23             single (1)        14:23 23:18,20
          salary (5)        46:9 56:16      Shorthand (1)     89:25               27:22 35:17
          37:17,24,25       59:21 62:4,10   94:4              Sintsink (1)        43:2,16,19
            38:5,10         62:14 64:10     show (28)         4:12              specifically (1)
          Santos (2)        65:12,15        41:5,6,9,12       sir (3)           6:11
          1:5 25:25         70:23 71:12       44:9,19 47:23   47:9 66:8         specifics (2)
          sauce (2)         75:23 76:12       48:9 51:10,24     68:16           32:11 37:22
          77:5 90:15        77:24 82:3        52:7 54:14      sister (1)        spend (1)
          saw (2)         seen (5)            55:17,18 58:9   6:6               25:16
          41:14 91:4      55:19,23 81:25      59:18 60:10     sitting (3)       spinach (1)
          saying (5)        90:2,4            63:24 64:24     54:6,13 81:10     77:25
          67:2 81:2,10    send (2)            69:22 75:6      six-page (6)      spoke (4)
            90:24,25      51:15 86:4          79:17 84:25     39:4,20 64:19     32:7,10 43:17
          says (25)       sense (1)           87:3,12 89:21     92:11,15,21       85:9
          45:9,20 46:15   74:22               89:22 90:6      small (1)         spoken (1)
            48:21 49:14   sentence (1)      showed (1)        19:22             28:8
            52:21 55:21   56:11             27:3              social (3)        staff (2)


                                 Lexitas Court Reporting
                                       800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 37 of 40 PageID #: 239

                                                                            June 3, 2022
                                                                                [Page 108]

            8:20 38:5       subpoena (1)      system (2)        80:5,9 81:15     4:21 17:8
          Standards (2)     86:4              86:18,19          81:21 82:16       23:24 26:17
          5:2 35:13         Subscribed (2)                      82:22,25          26:21 28:6
          Starkey (1)       91:20 95:23               T         83:13 84:20       36:2,21 45:15
          79:20             substance (1)     T (10)            85:12,22          45:20 46:14
          start (1)         26:22              2:15 3:2,2 4:2   90:21 91:5        49:15 51:19
          22:19             sue (1)             92:8 93:2,4,4 telling (2)         56:7 62:20
          started (7)       88:12               94:2,2         14:4 22:25         72:11 83:11
          30:8,11,14        sued (7)          take (10)       tells (1)           84:12 85:4
            58:19 59:3,4    35:12,16,21        22:24,25 23:8   46:12              86:9,20 87:12
            90:11             36:5,8,19         23:17,23      template (2)        87:15,24 88:2
          state (11)          88:2              38:22 44:21    61:6,7             88:8,10 90:13
          1:22 4:7,10       sugar (1)           51:16 85:11   ten (8)             90:18
            45:21 46:25     16:7                89:23          6:21 8:5,10,13   third (3)
            47:4 57:3       suggests (1)      taken (4)         9:6 10:25        30:3 86:13
            65:6,11 68:8    90:2               1:19 3:12        11:7 50:10        87:8
            94:5            suing (2)           38:24 95:2    ten-page (2)      thought (2)
          stated (1)        4:24 31:24        talk (2)         79:13 93:14       18:18 22:12
          18:24             suitable (1)       20:25 31:14    term (1)          three (17)
          States (6)        30:5              talking (13)     14:8              4:23 12:6
          1:2 57:24         sum (1)            10:7 21:6,7,8  terms (1)           13:22 18:25
            61:22 62:6,12   26:22               45:24 54:11    12:11              19:3 29:14,17
            62:25           summons (2)         54:12 72:23   testified (4)       29:21 31:23
          Steve (1)         27:3 28:24          75:5,24,25     4:5 5:11 13:19     48:24 53:24
          4:18              supervise (2)       82:19,20        61:13             57:5 76:16
          Steven (2)        14:12 87:10       tasting (1)     testimony (2)       84:24 87:8
          2:7 52:23         sure (13)          90:15           94:11 95:3         88:18 89:15
          STIPULAT...       4:18,20 29:11     teaching (1)    text (3)          three-page (2)
          3:4,13              37:22 50:23      77:21           71:12,22,25       39:24 92:16
          stole (1)           61:14,15 67:3   telephone (2)   thank (7)         time (27)
          6:12                67:7,15 68:9     80:15 83:11     21:17,19 51:18    1:21 3:15
          stopped (7)         68:18 90:22     tell (43)         52:4,12 64:18     10:10 12:11
          26:8,10 29:22     surprised (1)      10:4 17:25       91:14             17:11 18:17
            29:24 30:8,12   26:25               18:7,12,15    theft (1)           19:4 23:22
            30:15           sweating (1)        19:8,14 20:4   6:9                25:16 27:22
          Stream (1)        90:19               20:16 21:4,12 thing (1)           29:4 30:3
          47:7              swore (2)           22:7,10 23:2   88:11              35:13,17 43:2
          Street (4)        89:15,20            24:2,18 35:8 things (10)          46:6 51:15,16
          2:5 11:15,20      sworn (7)           36:16 40:22    16:3 24:2          55:5 58:16
            13:21           3:8,10 4:4          41:2,21 42:6    41:14 81:3,6      59:6,15 68:13
          stuff (2)           91:20 94:10       42:12 49:12     81:11 85:19       75:11 87:18
          15:23 16:15         95:1,23           53:20 54:20     88:19 90:13       91:15,16
          subjects (1)      Sysco (1)           54:21 63:15     91:4            times (41)
          23:4              84:15               65:2 72:2     think (29)         5:7 12:6 14:21


                                  Lexitas Court Reporting
                                        800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 38 of 40 PageID #: 240

                                                                           June 3, 2022
                                                                             [Page 109]

            15:2,6,9,13      19:1 20:1        19:19 20:25     Tuesday (1)     88:12,14,22
            18:23,25 19:3    21:1 22:1        21:21,24         87:13          upside (2)
            19:8,10,11       23:1 24:1        23:16,22        turn (2)        77:5,15
            20:11,11,17      25:1 26:1        26:24 29:13      64:2 81:24     Uptown (175)
            20:25 21:20      27:1 28:1        36:15 55:14     twin (1)        1:8 4:24 11:10
            21:24 31:17      29:1 30:1        56:18 58:2       6:5             11:12,16,18
            31:22 32:7,9     31:1 32:1        63:5 67:6       two (12)         11:25 12:2,5
            41:12,14,22      33:1 34:1        80:13,13         10:24 14:24     12:8,10,16,21
            41:23 42:2,3     35:1 36:1        82:24 83:3        32:4 34:20     13:5,6,10,17
            42:16,23 43:5    37:1 38:1        84:15 90:5,12     35:19 45:6     13:20,23 14:8
            43:6,13 44:5     39:1 40:1      tomato (1)          48:23 57:4     14:9,13,15,22
            50:10 73:23      41:1 42:1       90:15              66:2 81:19     15:3,13,16,22
            74:3,6 76:16     43:1 44:1      tomorrow (1)        87:14 91:4     16:9,9,14,19
            79:25            45:1 46:1       69:7             two-minute (1)   16:21,25 17:7
          timing (1)         47:1 48:1      Tony (1)           38:23           17:10,17,20
           18:11             49:1 50:1       9:17             two-page (6)     17:23 18:2,5
          Tini (9)           51:1 52:1      top (2)            78:17,21 79:9   18:8,13,16,25
           36:13,15,17,22    53:1 54:1       46:20 77:5         93:9,10,13     19:5,9,15,20
            36:24 58:17      55:1 56:1      Torrence (6)      type (3)         19:21 20:6,18
            59:8,8 63:8      57:1 58:1       80:3,4 85:3,18    8:18 33:3 73:6  21:2,3,4,5,7
          tip (1)            59:1 60:1        85:22 86:2      typed (9)        21:13,16,22
           38:20             61:1 62:1      touch (3)          60:2,3,4,4,16   21:24,25 22:2
          tips (1)           63:1 64:1       36:24 84:13        61:10,14,15    22:8,11,16
           38:18             65:1 66:1        85:18             61:16          23:5,10,22
          title (2)          67:1 68:1      town (2)          types (1)        24:15,19,22
           7:4 55:6          69:1 70:1       19:22 40:14       16:5            24:24 25:3,7
          titles (1)         71:1 72:1      trade (1)                          25:13,17,20
           55:3              73:1 74:1       14:9                    U         27:19,21
          Tizzano (22)       75:1 76:1      training (1)      U (4)            29:15,21 30:9
           1:8,9,19,19 4:9   77:1 78:1       8:19              3:2 93:2,4,22   30:12,15,18
            4:17 5:19,24     79:1 80:1      transcript (1)    underneath (1)   30:21,24 31:4
            6:2,3 45:9       81:1 82:1       95:2              76:2            31:8,12,25
            64:24 65:14      83:1 84:1      trial (1)         understand (4)   32:16,19,22
            76:3 82:22       85:1 86:1       3:15              5:8 14:10       32:25 33:6,9
            83:19 85:16      87:1 88:1      true (6)            21:14 87:2     33:17,20,23
            89:2 91:18       89:1 90:1       49:6 53:11       understanda...   34:2,13,16,19
            94:8 95:1,1      91:1             63:6 89:6,10     5:6             34:25 35:10
          Tizzano- (88)    today (7)          94:10           unfair (1)       36:8 40:10,17
           4:1 5:1 6:1 7:1 5:4 13:19 54:6   truth (5)          88:10           40:20,23
            8:1 9:1 10:1     54:13 55:23     36:17 49:24      United (6)       41:13,22 42:7
            11:1 12:1        81:10 90:2       68:22,25 89:3    1:2 57:24       42:10,18,22
            13:1 14:1      told (26)        truthful (4)        61:21 62:6,12  43:7,18,24
            15:1 16:1       9:25 10:10,13    49:17,20 63:12     62:25          44:9,13 45:18
            17:1 18:1        10:17 18:4       77:18           upper (3)        46:5,8,13


                                 Lexitas Court Reporting
                                       800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 39 of 40 PageID #: 241

                                                                         June 3, 2022
                                                                             [Page 110]

           47:12,15 48:6  38:13,18 86:23   website (1)      21:15 22:14      Z (2)
           48:16,20       wages (1)        71:3              29:22,25 30:8   4:2,2
           49:16 50:4,13  37:8             week (1)          30:8,12,12,15   zero (11)
           52:7 54:3,8    wait (2)         81:19             30:15 40:23     13:4,6,23
           54:15 56:13    8:20 38:4        went (2)          89:5              76:17 83:14
           61:25 65:12    waiter (4)       27:6 68:14       works (1)          84:7 85:3,6
           66:7 67:8      15:17,20 67:19   weren't (1)      28:6               85:23 87:7,19
           68:4,6,10,18    90:14           90:24            wouldn't (2)
           71:21 72:17    waiters (2)      whatsoever (2)   29:16,22               0
           73:25 74:7,20  37:25 38:4       22:5 87:20       write (2)        04 (3)
           76:9,13,16,18  waived (1)       witness (4)      59:23 77:8       92:4,11,17
           77:13 78:9,14  3:7              4:3 94:8,11      writer (1)       05 (3)
           80:7,11,16,24  walked (1)        95:23           79:24            92:18,19 93:12
           81:16,22       90:20            wold (1)         wrong (1)        06/03/2022 (1)
           82:17 83:19    want (17)        86:9             70:24            95:2
           84:6,9,18,22   10:9 20:15       woman (1)        wrote (8)        08 (1)
           87:8 89:17      32:10 36:14     79:19            49:18,21 52:18   92:12
           91:2            36:16 40:9      Woodbridge ...    60:14 78:4      09 (1)
          use (3)          42:19 48:12     9:15              84:20 85:17     93:13
          14:8 50:17       48:18 51:13     word (2)          86:2
           73:8            55:9 63:14,14                                           1
                                           76:2 77:14
                           74:10 76:25     words (3)              X         1 (3)
                 V         85:11 88:6      57:13 81:9       X (6)           39:6 44:20
          Valley (1)      wants (1)         86:6            1:4,11 92:2,8     92:11
          47:7            28:12            work (19)          93:2,4        10 (5)
          Vasquez (7)     Washington ...   8:25 9:3,6                       63:22,25 92:20
          1:5 28:2,5,8,11 4:13 11:15                               Y          92:23 93:19
                                            11:16 14:15
            30:14,23       13:21            27:12,19,21     yeah (5)        10:00 (1)
          Vasquez's (2)   wasn't (1)        31:3,7 32:21    12:15 71:19     1:14
          28:25 31:11     29:11             32:24 33:9        73:13 77:14   11 (13)
          vast (1)        watch (1)         40:10 41:5,6      77:20         13:4,6,23
          90:12           7:13              50:18 74:7      years (9)         64:21,25
          vendors (1)     way (8)           84:14           5:16 6:21 8:5     76:17 83:14
          8:20            8:7 14:4 15:22   worked (15)        8:10,13 9:6     84:6 85:3,6
          venued (2)       34:25 49:14     14:22 16:24        10:25 11:7      85:23 87:7
          35:23 57:23      81:17 88:13      17:6,10 25:15     35:19           92:21
          version (4)      94:15            27:14 29:15     York (17)       11-page (2)
          77:4,10,15,19 we're (5)           29:21 30:18     1:3,12,22 2:6   78:25 93:11
          victim (1)      11:22 21:6        30:21,24          4:13,25 35:14 11050 (1)
          6:8              54:13 76:18      31:24 73:5        47:7 57:25    4:14
          violations (2)   88:16            87:14 91:9        61:23 62:7,13 11581 (1)
          4:25 35:13      we've (3)        worker (1)         65:6,11 68:7  47:7
                          4:18 87:24       16:24              79:24 94:5    11743 (1)
                 W                                                          2:6
                           90:2            working (12)            Z
          wage (3)                                                          12 (11)

                                Lexitas Court Reporting
                                      800-678-0166
Case 2:20-cv-04026-NCM-SIL Document 49-3 Filed 01/19/23 Page 40 of 40 PageID #: 242

                                                                            June 3, 2022
                                                                             [Page 111]

            48:25 53:25     20-CV-4026 ...   92:17           79 (3)
            69:12,23        1:7              44 (1)          93:12,13,14
            70:13 71:11     200 (1)          4:12
            75:21 76:4,11   1:12                                   8
            92:13,23        2010 (1)                  5      8 (6)
          12:45 (1)         7:8              5 (9)           51:4,7,11
          91:16             2015 (1)         2:5 39:22         52:16 57:8
          13 (4)            12:13              48:10 51:10     92:18
          69:16 74:10       2017 (5)           52:16,19 57:7
            93:7,14                            57:11 92:15          9
                            5:17 65:22
          14 (4)              80:23,25       50 (11)         9 (4)
          69:20 75:7          81:14          13:4,6,24 15:9 58:7,10 62:12
            93:7,8          2018 (7)           76:17 83:14     92:19
          15 (5)            74:13,15 75:5      84:7 85:3,6
          38:17,20 78:19      87:16,16,22      85:24 87:7
            79:18 93:9        87:23          51 (1)
          16 (4)            2022 (2)         92:18
          78:23 80:2        1:13 91:22       516 (1)
            92:14 93:10     21 (1)           71:12
          17 (4)            93:10            55 (1)
          79:3 81:24        22 (2)           93:19
            93:9,11         48:25 53:25      5549 (2)
          18 (4)            24 (4)           71:14,15
          79:7 83:4 93:8    7:3,7,9 92:16    58 (1)
            93:12           25 (3)           92:19
          18-00021 (1)      31:22 32:7
          2:8                                        6
                              93:11
          19 (6)            26th (1)         6 (4)
          55:2 79:11        65:22            40:2 59:19
            85:2 87:6                          60:21 92:16
            92:22 93:13            3         63 (1)
          19-page (2)       3 (5)            92:20
          58:5 92:19        1:13 39:14       64 (1)
          1998 (1)            60:11,21       92:22
          37:16               92:13          664 (1)
                            382-5529 (1)     47:6
                2           71:12            69 (3)
          2 (2)             39 (6)           92:23 93:7,8
          39:10 92:12       92:11,12,13,14
          20 (10)                                     7
                              92:15,16
          20:10,11,13,14                     7 (4)
            79:15 87:4          4            40:6 55:19
            92:15,20     4 (2)                 57:12 92:17
            93:14 95:24  39:18 92:14         78 (3)
                         40 (1)              93:9,10,11

                                  Lexitas Court Reporting
                                        800-678-0166
